Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 1 of 115 PagelD 597

FILED

UNTED STATES DISTRICT COURT
MIDDLE DISTRICT OF Tonsil AN 9: 59
AMPA DINI-SI Ov’ - ep Wels Se

CONGHAU +4UU TO,
PETITIONER ,

Vv No: G4-295-CKR-T- I7(6

UNTED STATES OF AMERICA ,, BAG eviass | TeH
RESPONDENT

 

MOTION UNDER 2 U.S.C 2255
(F\5), MOTION FOR RESENTENCING

GUT OF NEW LAW BY HIE U.S.
SUPREME CoukT |.
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°) EXH/ Al T é, SENTENCING TRANSCRIPT
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MOTION UNDER 127 U.S.C 22-255
(=\(35). MOTION FOR RESENTENCING
IN LIGHT OF NEW LAW BY THE
U.S. SUPREME COVKT.

COMES Now COoNGHAY HUU TO ) APPEARING feO-

/
SE, RESPECTFULLY MOVES FHIS HONORABLE CoueT

JO LESEWTENCE PETITIONER . PETITIONER'S SENTENE
IS UNCONSTITUTIONAL AND UNJUST AS HE SUFFERS

FROM A WIFE SENTENCE PLUS LS YEARS ConSECUINE
IN VIOLATION OF HIS DUE PROCESS AWA HAS HAD F/S
BULDEN OF AN UNCONSTITUTIONAL. SENTENCE FOR

ALMOST 2O YEARS | ,
PURSUANT TO THE US. SUPREME COURT S

DECISION IN ALLEYNE Vo U.S 133 S, ct 22/57, HE
LL. SIA TIS DISTRICT CouRT AND FUE CNERNMENT

HAD MA N AND ERRED INA PROCEDURAL RULE

THAT IMPLUICATED FUNDAMENTAL CONSTITUTIONAL
PLOTECTION OF SIX7FA AMENDMENT FJULY~ TRAAL
RIGHTS 0 MNANT’S SIXTH AMENDMENT 21GHT

WAS VWOLATED .
RTATEMENT OF FHE CASE

A NINE COUNTS INDICTMENT WAS SERVED ON
THE PETITIONER ON a AS OS.C 16.2(5)
AND(d), 12 U.S,¢ 198) (a), AND IP U.S.C a22€

AFTER BEING FOUND GUILTY OF ALL NNE COUNTS

5
Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 4 of 115 PagelD 600

AT TRIAL, PETITIONER WAS SENTENCED ON 7 1G 6.
PETITIONER HAD FECEIVED TWO CONCURZENT HIF E
SENTENCES FOR CouUNTS OnE AND TWO ; aL O
MONTHS TO SERVE CoNCURKENTLY WITH TIE LIFE
SENTENCES FOR COUNTS 3, A, S ANP G. AS
VEARS CONSECUTNE senvence FOR CouNT 7, AND
TWO CONSECUTIVE 20 YEARS SENTENCES FOR Cow
0 AND G, THE JURY WAS INSTRUCTED AT DELIBERATEN
FHAT IF THE DEFENDANT WAS FOUND GULTY OF
CONTS 5,4, 5, AND GC , THEY HAD 7 FIND THE
DEFENDANT CHUILTY OF COUNTS 7, §, AND 9G OF THE
INDICTMENT.

AT SEN TENCING PETITIONER RECEIVED TWO
CONCURRENT LIFE ENTENCES WHICH THE PET/TIONER
WAS NEVER CHARGED IN THE INDICTMENT ~ FAGE /G
OF THE SENTENCING TRANSCRIPT © FHeE_CoukT. ALL
RGHT THEN FE COURT Wkl. RULE ON _FHE OBVECTION
ZT THINK Z'VE FULLY DISCUSSED THE ACCOUNTABILITY
OF MR. TO FOR THE MURDER OF CoN QUol LE AWd
AB IS FHE APPROPRIATE LEVEL UNDER 2A 1. HE
ROLE IN FHE OFFENSE IS WAT OF LEADERSHIP

AND THE 3 LEVEL ENHANCEMENT IS APPROPRIATE.”
PAGE 17-1? “THE COURT ~ THERE'S CoNnSEecUTIVE
SENTENCES , FICE LIFE IMPRISONMENT AS TO COUNT
1AnND 2,7”

THE COVKAT FERRED IN SENTENCING PETITIONER
TO A UFE SENTENCE BY ENHANCING PETITIONER.
UNDER 24/,/, FEDERAL FIRST. DEGREE MURDER ,

A STATUTE HAT DID NOT EXIST IN PETITIONER le

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Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 5 of 115 PagelD 601

INDICTMENT. ALSO A S YEARS AND TW 2.20 YEARS
CONSECUTIVE SENTENCES ON CoUNTS 7, & ) AND G
WHICH THE COURT INSTRUCTED THE VYURY THAT IF
THEY FIND FAE PETITIONER. GUILTY OF COUNTS 3,4
5, AND GC OF WE INDICTMENT, FIEY MUST ALLO
FINP THE PETITIONER GUILTY OF COUNTS 7, ) AND
G. THE COURT ERKED IN ENHANCING fe TITONER
WITH AS YEARL CONSECUTIVE | IN VIOLATION OF

THE PETITIONER'S DUE PROCESS. PETITIONER ALSO
KECEINED ENHANCEMENTS FOR O@S8TRUCTION OF
JUSTICE AND LEADERSHIP ROLE WIHioUT A WRY 'S
DETERMINATION , ALL IN VIOLATION OF PETITIONER'S
DUE PROCESS RIGHT WHER BE SIXTH AMENDMENT.

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MEMORANDUM OF POINTS AND AVUTHOKITIES

ON 6fi7/iz , THE VS. SUPREME COURT DECLARED
IN ALLEYNE’ V_'U.S. [33 S. oF 2/57, IPG Lb. Cc/ 2
314 OVERZVLED HARRIS V. US S35G US. S45 ) r2
S. CV. 2406 (2002) THAT ANY FACT FAT INCREASES
A MANDATORY MINIMUM SENTENCE FOR A CRIME 1S AN
ACTUAL ELEMENT OF THE CRIME FHAT MURT BE
SEPARATELY SUBMITTED TO THE JURY AND PROVEN
BEYOND A REASONARLE DOUBT. THE JURY'S DETEeM/-
NATION 1S NECESSARY TO SATISFY A DEFENDANT «©
RIGHT UNDER THE SIXTH AMENDMENT IN CONJUNCTION
WI? THE DUE PROCESS CLAUSE, TN TFIS CASE AS
PROVEN WH) THE EXHBITS OF PETITIONER'S
INDICTMENT AND SENTENCING TRANSCR/PTS ; IT CLEARLY

s
Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 6 of 115 PagelD 602

PROVES THAT HE WAS SENTENCED /LLEGALLY
UNDER. A STATUTE TAT WAS NEVER SEEN DY A
JURY FHAT WAS NoT IN HIS INDICTMENT HAT
RESULTED INA LIFE SENTENCE AND MORE AS
WELL AS MULTIPLE ENHANCEMENTS THAT THE
WUPGE AND NOT FHE JURY FEUND HIM GUILTY
FOR. IN VIOLATION OF HIS DUE PROCESS UNDER

He! SIXTH AMENDMENT.
THE SUPREME COoVveT IN ALLEYNE EXTENDED

THE RULE OF -APPRENDI V. NEW VERSEY 5350 US.
AGG , 120 S. cf. L54¥ (2000) RECOGNIZING THAT
ANY FACT WA/CH INCREASES ETHIER END OF THE
SENTENCING RANGE fRODUCES -A NEW fENALTY AnD
THEREFORE CONSTITUTES A PROVABLE INGREDIENT
OF FHE OFFENSE, “FACTS THAT INCKEASE THE
MANDATORY MINIMUM SENTENCE ARE THEREFORE
ELEMENTS FHAT MUST BE SUBMITTED TO THE WRY
AND FOUND BEYOND A REASONABLE DOUBT", ALLEWE
Vo US. 133 8S. cr. QS), 2ISE EE Lh. ld 2

314 (2013),
AVENUE UNDER 2.255 (; F)( 3)

QE USC. 2255 OO PERMITS A FIRST

2LA5BSE MOTION TH BE Co RED TIMELY lF ITUS

FILED WITHIN ONE YEAR OF A SUPREME coOURT''S
DECISION TFHAT CREATES A NEWLY RECOGN ZING

RIGHT MADE KETROACTIVELY APELICABLE TO
ON COLLATERAL. REVIEW | 2 V.S,C. 2255 (F)\(5).

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Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 7 of 115 PagelD 603

TF THE CiRCUIT PRECEDENT WAS INCONSISTENT
WITH “THE LAW OF THE UNITED STATES O22 IF
THE OVERRULING OF CIRCUIT PRECEDENT IS AFICT,
THEN THE LIMITATION PERIOD BEGAN TO RUN WHEN
ALLEYNE” WAS PECIDED, SEE Me. QUIGGIN V, PERKINS,

U.S. 1335 S& ce. /G2L," IG27, 185 L, Lo. 2A.
/OlF (2015).

RETROACTIVITY OF ALLEYNE

ALLEYNE MUST DE GIVEN FULL KE TROACTIVITY
EFFECT TO CASES ON COLLATERAL REVIEW | AND
TREATED AS A “WATERSHED RULE" AND NEW SUb-
STUNTINE RULE OF LAW, FAILURE TO OBSERVE THE
ALLEYNE RULE CARRIES A SUBSTANTIAL RISK THAT
ONE ACCUSED WALL BE EITHER WRONGLY CONVICTED
OR SUBJECTED TO A SENTENCE FAT THE LAW
CANNOT IMPOSE ON HIM Z WHic#+H NOT ONLY ERODES
THE PUBHIC CONF/DENCE IN THE JUSTICE SYSTEM
BUT (MPERILS THE SYSTEM'S INTEGRITY. UNDER
THESE CIRCUMSTANCES , AND IN THIS CASE, THE
INTEREST IN FINALITY MUST YIELD . ALLEYNE IS
A NEW SUBSTANTIVE RULE OF LAW. NEW SUBSTANTNE

RULES GENERALLY APPLY RETROACTIVELY , SEE.,
SCcHRIRO V, SUMMERLIN , S42 US. SAY, 25/ /24

S, of 25/7, 154 L. ed 29d Lt,2 (2004) A RULE IS
SUBSTANTI VE RATHER THAN PROCEDURAL (F IT ALTERS

THE RANGE OF ConDUCT OR FE CLASSE OF PERSONS
TWE LAW PUNISHES ."ZDo/ AT B53 , THIS INCLUDES

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DECISIONS THAT NARROW FE SCOPE OF A CRIMINAL
STATUTE BY INTERPEETING ITS TERMS." Te. AT
351, SUCH RULES APPLY RETROACTIVELY BECAUSE
THEY NECESSARILY CARRY A SIGNWFICANT RISK
THAT A DEFENDANT STANDS CONVICTED OF ANACT
THAT THE LAW DOES NOT MAKE CRIMINAL” “OR FACES
A PUNISHMENT THAT THE LAW CANNOT IMPOSE UPON
+m", BOUSLEY, 525 US. AT G20-2! (QUWTING
DAVIS, 417 US. AT 346). IN CONTRAST, RULES
THAT REGULATE ONLY THE MANNER OF DETERMINING
THE DEFENDANT'S CULPABILITY ARE PROCEDURAL.”
Tscueiko, 5h US, AT 353". “PROCEDURAL RULES
DO NOT PRODUCE A LLASS OF PERSONS CONVICTED
OF CONDUCTS THE LAW DOES NOT MAKE CRIMINAL )
PUT MERELY RAISE TFHE (OSS/BIL/ TY FHAT SOMEONE
CONVICTED WT USE OF FEE INALIDATED FROCEDURE
MIGHT +AVE BEEN ACQUITTED OTHERWISE. “Tel AT
DBA, ALSO SEE CHAMBERS ) SSS US. AT 1222
WAS SJASTANTIVE AND FHEKERSRE MPLIED RETROACTIVE)
(ALSO SEE BEGAY, 553 US. AT lA4- 45°) | SHIPP
BEG F 3a 10GO, UNDER THE FRAMEWORK oF
TEAGUE _V LANE, A8F U.S. 298, 109 &. ct. 1060
AN OLD RULE APPLIES BoTH ON DIRECT AND COLLATERN.
REVIEWS , BUT A NEW RULE IS GENERALLY APLI CAGE
ONLY TO CASES FWAT ARE STILL ON DIRECT REVIEW Y
A NEW RULE /S RETROACTIVELY INA COLLATERAL.
PROCEEDING ONLY IF |.) THE RULE IS SUBSTANTIVE
OR 22.) HE RULE IS WATERSHED RULE OF CRE/MINAL.
PR URE IMPLICATING THE FUNDAMENTAL FAIRNESS

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AND ACCURACY OF CRimi NAL. PROCEEDING , WAL TON

V. BOK LOKTING oy 4 S. 406’, AIG, 127°S, A 73,

IGT L. 2007) ( INTER NAL. QUOTATION
MARKS “a Zioe OM (rrep| DESCRIBING TEAGUE
Vi LANE AVG US. QPP, 104 ©) ' 0CO. IN FE

PETITIONER 'S MOTION IT IS CLEAR THAT ALLEYNE

APPLIES RETROACTIVELY AS IT MEETS GO! PRONGS
OF RETROACTIVITY AS NOT OMY IT IS A WATERSHED
RULE, HUT ALLO A NEW SUBSTANTIVE RULE.

‘FINALLY , ANS IN SHOLT ) PETITIONER SUFFERS
A LIFE SENTENCE AND 45 YEARS IN VIOLATION OF
HIS DUE PROCESS AS HE WAS SENTENCED CNLER
CObBES AND ENHANCEMENTS FIAT DO NOT EX/ST
IN HHS INDICTUENT AND WERE NOT PEOPERLY
SUBY/TTED FOR A PROPER TURY DETERMINATION
ALLA IN VIOLATION OF WS SIXTH AUENBMENT AND
DUE PROCESS NIGHTS BY THE UMTED STATES
CONSTITUTION ,

UNDER “ALLEYNE” ANY FACT INCREASES 7A
MANDATORY MINIMUM SENTENCE FOR A CRIME 18
AN ACTUAL ELEMENT OF FAE CKIME MUST BE
SEPARATELY SU@MITTIED To THE TURY AND PROVEN
BEYOND A REASONABLE LOUGT.,

CONCAUSION
PETITIONER PRAYS THAT THIS COURT WILL

GRANT HIS MOTION FoR THE ABWVE MENTIONED
PEARSONS IN FE INTEREST OF VUSTICE. FHAT

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PETITIONER WLL BE ZESENTENCED AS HIS
SENTENCE STANDS UNCONGT/TUTIONAL AND IN
VIOLATION OF DUE PROCESS.

CERTIFICATE OF SERWCE

 

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THE CLERK OF CoURT FOR U.S. DISTRICT COURT,
MIDDLE DISTRICT OF FLOAZIDA TAMPA ) AND ONE
COPY % THE U.S. ATTORNEY'S OFFICE, SUTE 390,
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U.8,P LEWSBURG
P.O. BOX JOOO
LEWISBURG , FA. 17937

/O
Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 11 of 115 PagelD 607

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2. At all times relevant to the Indictment, the SouthIan aa

Corporation, a corporation organized and existing under the laws
of the State of Texas, operated Store number 23741 located at
7124 North Dale Mabry Highway, Tampa, Florida, and engaged in the
retail sale of food and other sundries in interstate commerce.

3. At all times relevant to the Indictment, the Shanghai
Buffet Restaurant located in Tampa, Florida was a corporation
organized and existing under the laws of the State of Florida,
and engaged in the retail restaurant business which activities
affected interstate commerce.

4. At all times relevant to the Indictment, defendants
CONGHAU HUU TO, a/k/a “Tigo"; HAI VAN NGUYEN; LAP VAN LE, a/k/a
"Lai Van Le", a/k/a "Luu Van Le", a/k/a "Johnny"; TUAN DUC PHUNG;
TAI TAN PHAM, a/k/a "Cao"; LIEM THANH LUONG, a/k/a Luong Thanh
Liem; TUNG VAN NGUYEN, a/k/a "Tony"; NGUYEN TU DOAN; AN THANH LE;
TAM MINH LE; and DUNG QUOC NGUYEN, associated together and with
others known and unknown to the Grand Jury, for the purpose of
engaging in an organized plan and scheme to enrich themselves by
committing armed robberies and to protect themselves from
prosecution by committing acts involving murder. The foregoing
constituted an enterprise as that term is defined in Title 18,
United States Code, Section 1961(4), that is, a group of

individuals associated in fact, which enterprise was engaged in

and the activities of which affected interstate commerce.
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5. From at least as early as March 1993 and continuing up-————_

to and including June 1994, in the Middle District of Florida and

elsewhere, the defendants,

CONGHAU HUU TO, —
a/k/a "Tigo";
HAI VAN NGUYEN; +”
LAP VAN LE,
a/k/a “Lai Van Le",
a/k/a “Luu Van Le",
a/k/a “Johnny";
TUAN DUC PHUNG;
TUNG VAN NGUYEN,
a/k/a "Tony";
NGUYEN TU DOAN;
AN THANH LE;
TAM MINH LE; &—
and
DUNG QUOC NGUYEN,
being persons employed by and associated with the enterprise
described in paragraph 4 of this Count, which was engaged in and
the activities of which affected interstate commerce, together
with others both known and unknown to the Grand Jury, did
knowingly, willfully and unlawfully, conduct and participate,
directly and indirectly, in the conduct of the affairs of such
enterprise through a pattern of racketeering activity, as defined
by Title 18, United States Code, Section 1961(1) and (5).

6. The pattern of racketeering activity committed by the
defendants consisted of the following acts:
RACKETEERING ACT ONE
The defendants, CONGHAU HUU TO, a/k/a "Tigo"; HAI VAN
NGUYEN; LAP VAN LE, a/k/a “Lai Van Le", a/k/a “Luu Van Le", a/k/a
"Johnny"; TUAN DUC PHUNG; TUNG VAN NGUYEN, a/k/a "Tony"; NGUYEN

TU DOAN; AN THANH LE; TAM MINH LE; and DUNG QUOC NGUYEN, named
Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 14 of 115 PagelD 610

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below committed the following acts, any one of which alone

constitutes the commission of Racketeering Act One:

Racketeering Act 1(a)

From at least as early as March 1993, and continuing up to

and including June 1994, in the Middle District of Florida, and

elsewhere, the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
HAI VAN NGUYEN;
LAP VAN LE,
a/k/a "Lai Van Le",
a/k/a "Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
TUNG VAN NGUYEN,
a/k/a "Tony";
NGUYEN TU DOAN;

AN THANH LE;
TAM MINH LE;
and '

DUNG QUOC NGUYEN,
did knowingly, willfully, and unlawfully combine, conspire,
confederate, and agree together and with each other and with
other persons both Known and unknown to the Grand Jury, to
unlawfully obstruct, delay, and affect commerce as that term is
defined in Title 18, United States Code, Section 1951(b)(3), and
the movement of articles and commodities in such commerce, by
robbery as that term is defined in Title 18, United States Code,
Section 1951(b)(1), in that the defendants did unlawfully agree
to take and obtain personal property consisting of jewelry and
United States currency by means of actual and threatened force,

violence, and fear of injury, in violation of Title 18, United

States Code, Section 1951.
_ Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 15 of 115 PagelD 611

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Racketeering Act 1(b)
From at least as early as March 1993, and continuing up to

and including June, 1994, in the Middle District of Florida and

elsewhere, the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
HAI VAN NGUYEN;
LAP VAN LE,
a/k/a "Lai Van Le",
a/k/a "Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
TUNG VAN NGUYEN,
a/k/a "Tony";
NGUYEN TU DOAN;
AN THANH LE;
TAM MINH LE;
and
DUNG QUOC NGUYEN,

did knowingly, willfully, and unlawfully’ combine, conspire,
confederate, and agree together and with each other and with
other persons both known and unknown to the Grand Jury, to commit
an act involving robbery, that is, axa enter a dwelling with the Ghee
intent to commit a robbery of the occupants therein, in violation
of Florida Statutes 777.04(3) and 812.135.
RACKETEERING ACT TWO

The defendants CONGHAU HUU TO, a/k/a "Tigo"; TUAN DUC PHUNG;

AN THANH LE; TAM MINH LE; and DUNG QUOC NGUYEN, named below

committed the following acts, any one of which alone constitutes

the Commission of Racketeering Act Two:
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Racketeering Act 2(a)

On or about April 23, 1994, in the Middle District of

     

Florida, the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
TUAN DUC PHUNG;
AN THANH LE;
TAM MINH LE;
and
DUNG QUOC NGUYEN,

did unlawfully obstruct, delay and affect, and attempt to
obstruct, delay and affect commerce, as that term is defined in
Title 18, United States Code, Section 1951(b) (3), and the
movement of articles and commodities in such commerce, by
robbery, as that term is defined in Title 18, United States Code,
Section 1951(b)(1), in that the aforementioned defendants did
unlawfully attempt to take and obtain personal property
consisting of United States currency from an employee of the Big
Easy Restaurant, Tampa, Florida, against his will by means of
actual and threatened force, violence, and fear of injury in

violation of Title 18, United States Code, Sections 1951(a) and

2.

Racketeering Act 2(b)

On or about April 23, 1994, in the Middle District of

Florida, the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
TUAN DUC PHUNG;
AN THANH LE;
TAM MINH LE;
and
DUNG QUOC NGUYEN,
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did commit an act involving murder, that: is, to knowingly,

     
 

unlawfully, and willfully kill a human being, that is, Khanh Quoc
Le, while said defendants were engaged in the perpetration of a
robbery, by firing a shotgun and two handguns at the said Khan
Quoc Le while the defendants attempted to rob the said Khanh Quoc
Le, which robbery was perpetrated by the defendants, in violation
of Florida Statutes 777.04(3), 782.04(1) (a) (2) (d), and 777.011.
RACKETEERING ACT THREE
On or about May 7, 1994, in the Middle District of Florida,

the defendant,

TUNG VAN NGUYEN,
a/k/a “Tony";
and

AN THANH LE;
together with others not indicted herein, did commit an act
involving robbery, that is, did enter a dwelling with the intent
to commit a robbery and did commit a robbery of the occupants
therein, in violation of Florida Statute 812.135.

RACKETEERING ACT FOUR

On or about May 13, 1994, in the Middle District of Florida,

the defendant,
TUNG VAN NGUYEN,
a/k/a "Tony";
AN THANH LE;

and —
TAM MINH LE;

together with others not indicted herein, did commit an act
involving robbery, that is, did enter a dwelling with the intent
to commit a robbery and did commit a robbery of the occupants
therein, in violation of Florida Statute 812.135.

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3V 0's BRCKETRERING ACT FIVE it Setene o

Ulree Ese Mtg
On or about May 23, 1994, in the Middle District of Florida,

the defendants,
CONGHAU HUU TO,

a/k/a "Tigo";
and
TUNG VAN NGUYEN,

a/k/a "Tony",
did unlawfully obstruct, delay, and affect, and attempt to
obstruct, delay, and affect commerce, as that term is defined in
Title 18, United States Code, Section 1951(b) (3), and the
movement of articles and commodities in such commerce, by
robbery, as that term is defined in Title 18, United States Code,
Section 1951(b)(1), in that the aforementioned defendants did
unlawfully take and obtain personal property consisting of United
States currency with a value exceeding $8,000 from an employee of
Southland Corporation, Tampa, Florida, against his will by means
of actual and threatened force, violence, and fear of injury in
violation of Title 18, United States Code, Section 1951(a).

RACKETEERING ACT SIX

On or about May 29, 1994, in the Middle District of Florida,

the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
HAI VAN NGUYEN;
LAP VAN LE,
a/k/a "Lai Van Le",
a/k/a "Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
and
NGUYEN TU DOAN,
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did unlawfully obstruct, delay and affect, and attempt to
obstruct, delay and affect commerce, as that term is defined in
Title 18, United States Code, Section 1951(b)(3), and the
movement of articles and commodities in such commerce, by
robbery, as that term is defined in Title 18, United States Code,
Section 1951(b)(1), in that the aforementioned defendants did
unlawfully take and obtain personal property consisting of
jewelry and United States currency with a value exceeding $12,000
from employees of the Shanghai Buffet Restaurant, Tampa, Florida,
against their will by means of actual and threatened force,
violence, and fear of injury in violation of Title 18, United
States Code, Section 1951(a).
RACKETEERING ACT SEVEN

The defendants CONGHAU HUU TO, a/k/a "Tigo"; and NGUYEN TU
DOAN, named below committed the following acts, any one of which
alone constitutes the commission of Racketeering Act Seven:

Racketeering Act 7(a)

On or about May 31, 1994, in the Middle District of Florida,

the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
and
NGUYEN TU DOAN,
did knowingly, willfully, and with premeditation, unlawfully
attempt to kill a human being, that is An Thanh Le, with the
intent to prevent the communication by the said An Thanh Le to a

law enforcement officer, information relating to the commission
Case 8:94-cr-00293-EAK- Ta! Document 659 Filed 06/16/14 Page 20 of 115 PagelD 616

    

of a federal offense in violation of Title 18, United States
Code, Sections 1512(a)(1)(C) and 2.

Racketeering Act 7(b)

On or about May 31, 1994, in the Middle District of Florida,

the defendants,
CONGHAU HUU TO,
a/k/a "Tigo";
and
NGUYEN TU DOAN,

did knowingly, willfully, and with premeditation, unlawfully
attempt to kill a human being, that is An Thanh Le, in violation

of Florida Statutes 782.04(1)(a)1 and 777.011.

All in violation of Title 18, United States Code, Section

1962(c).

COUNT TWO

1. The allegations of paragraphs 1 through 4, inclusive of

Count One, are repeated and realleged herein as if fully set

forth at length.

2. From at least as early as March 1993, and continuing up

to and including June 1994, in the Middle District of Florida and

elsewhere, the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
HAI VAN NGUYEN;
LAP VAN LE,
a/k/a “Lai Van Le",
a/k/a "Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
TAI TAN PHAM,
a/k/a "Cao";

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Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 21 of 115 PagelD 617
THANH LUONG,
a/K/a Luong Thanh Liem;
TUNG VAN NGUYEN,
a/k/a “Tony";
NGUYEN TU DOAN;
AN THANH LE;
TAM MINH LE;
and
DUNG QUOC NGUYEN,
being persons émployed by and associated with the enterprise
described in paragraph 4 of Count One of this Indictment, which
was engaged in and the activities of which affected interstate
commerce, knowingly, willfully and unlawfully did combine
conspire, confederate and agree together, and with each other,
and with other persons to the Grand Jury, both known and unknown,
to violate Title 18, United States Code, Section 1962(c), that
is, to conduct and participate, directly and indirectly, in the
conduct of the affairs of such enterprise through a pattern of
racketeering activity as defined by Title.18, United States Code,
Section 1961(1) and (5), namely, multiple acts indictable under
Title 18, United States Code, Section 1951(a) that is
interference with commerce by robbery, and conspiracy to do so,
and acts involving robbery and murder in violation of Title 18,
United States Code, Section 1512(a)(1)(c) and Florida Statutes
777.04(3), 782.04(1) (a)2d, 812.135 and 777.011.
3. It was part of said conspiracy that each defendant

agreed that two or more acts of racketeering would be committed

in the conduct of the affairs of the enterprise.

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4. It was further a part of said conspiracy that the

defendants would and did "case" certain persons and businesses
known to them to generate large quantities of United States
currency, as part of a plan and scheme to commit armed robberies
of these persons and businesses.

5. It was further a part of the conspiracy that the
defendants would recruit juvenile runaways to join the enterprise
believing that the juveniles would face lesser criminal penalties
if apprehended by law enforcement authorities.

6. It was further a part of the conspiracy that the
defendants did steal motor vehicles prior to committing armed
robberies in order to provide a means of escape from the scene of
the robbery.

7. It was further a part of said conspiracy that the
defendants did disguise their identities by the use of nylon
stocking masks and cloth bandannas and did wear gloves to prevent
leaving latent fingerprints during the course of the armed
robberies.

8. It was further part of the conspiracy that the
defendants would and did carry firearms consisting of handguns

and shotguns, and did tie victims of the aforementioned robberies

with flexcuffs and duct tape.

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9. It was further a part of the conspiracy that the
defendants agreed to murder An Thanh Le, with the intent to
prevent the said An Thanh Le from communicating information to

law enforcement authorities regarding the commission of a federal

offense.

All in violation of Title 18, United States Code, Section

1962(d).

COUNT THREE

From at least as early as March 1993, and continuing up to

and including June 1994, in the Middle District of Florida, and

elsewhere, the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
HAI VAN NGUYEN;

LAP VAN LE, —
a/k/a “Lai Van Le",
a/k/a "Luu Van Le",

a/k/a “Johnny";
TUAN DUC PHUNG;
TAI TAN PHAM,
a/k/a "Cao";
LIEM THANH LUONG,
a/k/a Luong Thanh Liem;
TUNG VAN NGUYEN,
a/k/a "Tony";
NGUYEN TU DOAN;

AN THANH LE;

TAM MINH LE;

and
DUNG QUOC NGUYEN,

did knowingly, willfully and unlawfully combine, conspire,
confederate, and agree together and with each other and with
other persons, both known and unknown to the Grand Jury, to

unlawfully obstruct, delay and affect commerce as that term is

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defined in Title 18, United States Code, Section 1951(b)(3), ana
the movement of articles and commodities in such commerce, by
robbery, as that term is defined in Title 18, United States Code,
Section 1951(b)(1), in that the defendants did unlawfully agree
to take and obtain personal property consisting of jewelry and
United States currency by means of actual and threatened force,
violence, and fear of injury.

All in violation of Title 18, United States Code, Section
1951(a).

COUNT FOUR

On or about April 23, 1994, in the Middle District of

Florida, the defendants, ,

CONGHAU HUU TO,
a/k/a "Tigo"
TUAN DUC PHUNG;
AN THANH LE;
TAM MINH LE;
and
DUNG QUOC NGUYEN,
together with others not indicted herein, did unlawfully
obstruct, delay and affect, and attempt to obstruct, delay and
affect commerce, as that term is defined in Title 18, United
States Code, Section 1951(b)(3), and the movement of articles and
commodities in such commerce, by robbery as that term is defined
in Title 18, United States Code, Section 1951(b)(1), in that the
aforementioned defendants did unlawfully attempt to take and
obtain personal property consisting of United States currency

from an employee of the Big Easy Restaurant, Tampa Bay Mall,

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Tampa, Florida, against his will by means of actual ana
threatened force, violence, and fear of injury.

All in violation of Title 18, United States Code, Sections

1951(a) and 2.

COUNT FIVE

On or about May 23, 1994, in the Middle District of Florida,

the defendants,

CONGHAU HUU TO,
a/k/a "Tigo"
and
TUNG VAN NGUYEN,
a/k/a "Tony",
together with others not indicted herein, did unlawfully
obstruct, delay, and affect, and attempt to obstruct, delay, and
affect commerce, as that term is defined in Title 18, United
States Code, Section 1951(b)(3), and the movement of articles and
commodities in such commerce, by robbery as that term is defined
in Title 18, United States Code, Section 1951(b)(1), in that the
aforementioned defendants did unlawfully take and obtain personal
property consisting of United States currency with a value
exceeding $8,000 from an employee of Southland Corporation,
Tampa, Florida, against his will by means of actual and

threatened force, violence, and fear of injury.

All in violation of Title 18, United States Code, Sections

1951(a) and 2.

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COUNT SIX

On or about May 29, 1994, in the Middle District of Florida,

the defendants,
CONGHAU HUU TO,
a/k/a "Tigo";
HAI VAN NGUYEN;
LAP VAN LE,
a/k/a "Lai Van Le",
a/k/a "Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
TAI TAN PHAM,
a/k/a "Cao";
LIEM THANH LUONG,
a/k/a Luong Thanh Liem;
TUNG VAN NGUYEN,
a/k/a "Tony";
and
NGUYEN TU DOAN,

together with others not indicted herein, did unlawfully
obstruct, delay, and affect, and attempt to obstruct, delay and
affect commerce, as that term is defined in Title 18, United
States Code, Section 1951(b) (3), and the movement of articles and
commodities in such commerce, by robbery, as that term is defined
in Title 18, United States Code, Section 1951(b)(1), in that the
aforementioned defendants did unlawfully take and obtain personal
property consisting of jewelry and United States currency with a
value exceeding $12,000 from employees of the Shanghai Buffet
Restaurant, Tampa, Florida, against their will by means of actual

and threatened force, violence, and fear of injury.

All in violation of Title 18, United States Code, Sections

1951(a) and 2.

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COUNT SEVEN eS

On or about April 23, 1994, in the Middle District of

Florida, the defendant,

CONGHAU HUU TO,
a/k/a "Tigo"
TUAN DUC PHUNG;
AN THANH LE;
TAM MINH LE;
and
DUNG QUOC NGUYEN,
together with others not indicted herein, knowingly used and
carried firearms, that is, handguns and a shotgun, during and in
relation to a crime of violence for which they may be prosecuted
in a court of the United States, that is, interference with
commerce by threats and violence as alleged in Count Four of the
Indictment which is incorporated herein by reference as if set
forth at length.

All in violation of Title 18, United States Code, Section

924(c)(1) and 2.

COUNT EIGHT

On or about May 23, 1994, in the Middle District of Florida,

the defendants,
CONGHAU HUU TO,
a/k/a "Tigo"
and

TUNG VAN NGUYEN,
a/k/a "Tony",

together with others not indicted herein, knowingly used and

carried firearms, that is, handguns, during and in relation to a

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crime of violence for which they may be prosecuted in a court or.
the United States, that is, interference with commerce by threats
and violence as alleged in Count Five of the Indictment which is
incorporated herein by reference as if set forth at length.

All in violation of Title 18, United States Code, Section

924(c)(1) and 2.

COUNT NINE

On or about May 29, 1994, in the Middle District of Florida,

the defendants,
CONGHAU HUU TO,
a/k/a "Tigo"
LAP VAN LE,
a/k/a "Lai Van Le",
a/k/a "Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
and
NGUYEN TU DOAN,

together with others not indicted herein, knowingly used and
carried firearms, that is, handguns, during and in relation to a
crime of violence for which they may be prosecuted in a court of
the United States, that is, interference with commerce by threats
and violence as alleged in Count Six of the Indictment which is

incorporated herein by reference as if set forth at length.

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All in violation of Title 18, United States Code, Section

924(c)(1) and 2.

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FOREPERSON

CHARLES R. WILSON
UNITED STATES ATTORNEY

LIE F. THOMAS
Assistant U. S. Attorney

USA No. 44
Pk

KEVIN R. MARCH
Assistant U. S. Attorney
Chief, Strike Force Unit
USA No. 23

      
 

 

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA, No. 94-293-CR-T-17(E)
Plaintiff,
-vs-

CONGHAU HUU TO,

Defendant. Tampa, Florida
ween nnn nn nn nn nn eee oe ees July 16, 1996
SENTENCING ca 3
BEFORE THE HONORABLE THOMAS A. WISEMAN, oe 2
Senior United States District Judge itis 1
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APPEARANCES : cat a
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For the Government: JULIE THOMAS ve

Assistant United States Attorney
500 Zack Street

Tampa, Florida 33602

(813) 274-6000

For the Defendant: ‘DANIEL CASTILLO, ESQUIRE
607 W. Martin Luther King Blvd.
Tampa, Florida 33603

(813) 238-8580

Reported by: MICHAEL J. CANO, RPR
Frecka & Associates
P.O. Box 1921
Tampa, Florida 33601-1921
(813) 221-4132

 

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PROCEEDINGS
(Court called to order at 2:40 p.m.)

THE COURT: All right. The next matter set for
hearing is United States versus Conghau Huu To.

Is the government ready?

MS. THOMAS: Yes, Your Honor.

THE COURT: Is the defendant ready?

MR. CASTILLO: Yes, Your Honor.

THE COURT: Mr. Castillo, have you had an
opportunity to go over the presentence report with the
defendant?

MR. CASTILLO: Yes, Your Honor.

THE COURT: Mr. To, have you thoroughly read and
understand the presentence report?

THE DEFENDANT: Yes, Your Honor.

THE COURT: All right. All right then,

Mr. Castillo, I’ll hear you on your objections.

MR. CASTILLO: Your Honor, some of them overlap.
I guess the first and foremost, the most important one that
I see is the accountability of Mr. To for the murder of
Con Quoc Le. The probation office has scored him with a
base level of 43 finding him responsible under a
first-degree-murder theory of the murder of Con Quoc Le.

The Court’s already ruled somewhat on this issue

as it related to Tam Minh Le, who was the actual shooter of

 

 
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Con Quoc Le, as to the April 23rd Saigon Palace incident.

The Court will recall Mr. To, although he’s, as
the jury found, the ring leader or one of the orchestrators
of this conspiracy to commit a robbery of Mr. Con Quoc Le,
he was across the street in the Saigon Palace when the
victim was killed.

Now, there’s been some dispute as to what the
state of mind of Mr. Tam Minh Le was when he actually shot
Con Le. And under the Pinkerton Theory in aiding and
abetting, we recognize that Mr. To may be held accountable
for the acts of coconspirators for reasonably foreseeable
acts.

Now, as the jury so found, there was a conspiracy
to commit a robbery of Mr. Con Quoc Le, and in light of the
sequence of events that occurred that night, I mean, first
of all, the victim that night was not robbed of the money
that was in his possession. He was found with some $700,
and there was a contention that Mr. Tam Minh Le had bad
blood and it was separate and apart from any conspiracy.

But the point is, Judge, is Mr. To responsible for
the shooting of Con Le as it related to the robbery? In
other words, is it a foreseeable act, kind of like the same
reasoning that the other attorneys argued for their clients
as it related to the abduction of the Lin family? Is

that -- was that abduction or was the shooting of Con Le a

 

 
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reasonably foreseeable act of a conspiracy to commit

robbery? There was no talk of killing anyone during the |

 

conspiratorial conversations. It was something that had

happened that night. Now, the question is, is it reasonably
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foreseeable? That’s one question.

The second one, is it a first-degree murder, which
would allow the application of 2A1.1? I point out to the
Court that the two issues to resolve based upon the facts of
the case, is Mr. To liable? And if the Court says it’s not
a reasonably foreseeable act, the murder of Con Le, then
Mr. To, under that count, would be liable for the conspiracy
to commit robbery, which is a base level 20 which would be
enhanced to 27. That’s one alternative the Court has based
upon its findings.

I don’t need to belabor the facts. The Court is
well aware of the facts. Alternatively, Judge, as it
relates to Mr. To, the Court can also find that maybe it’s a
foreseeable consequence of his acts, but was it in fact a

first-degree murder as it relates to Mr. To?

 

Conceivably the Court can say, Well, based upon
the intent of the defendant, was it knowingly and willfully
committed? Unfortunately -- well, as I’ve heard already the
Court’s already made a finding as to Mr. Tam Minh Le, which
is as to that defendant, but Mr. To, is he -- should he be

accountable for a second-degree murder, which would be a

 

 

 

 
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level 33, and subject to the according enhancements?

I submit to the Court, Judge, that obviously it’s
way beyond -~ it’s outside the scope of this conspiracy to
commit a robbery of Con Le. The murder was an unfortunate,
unforeseeable act as it relates to Mr. To. This was
something that Mr. Tam Minh Le did off on a frolic of his
own, so to speak. I mean, it wasn’t contemplated by the
conspiracy. It was an unfortunate occurrence that occurred.
No one can dispute the death, but the question remains, what
was the state of mind of Mr. Tam Minh Le at the time of the
killing? And whether or not Mister -- was that killing a
foreseeable act as to that conspiracy to commit robbery?

Shall I go on or do you want to let the government
respond?

THE COURT: Well, you may continue.

MR. CASTILLO: Okay. Secondly, Judge, obviously
we have --

THE COURT: I’1l address that. I’m prepared to
address that at any point. That’s all you have to say about
that?

MR. CASTILLO: Right.

THE COURT: Let me just say this, Mr. Castillo.

We have both the Felony Murder Rule and the 18 United States
Code, Section 2, that which could be done by a person

himself can also be done by a principal. We have Pinkerton

 

 
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liability under the conspiracy theory.

Now, it seems logical to this Court that if you
arm -- and this is -- these are determined facts by the
jury’s verdict -- if you plot a felony and you place weapons
in the hands of your subordinates and coconspirators and a

murder results, a shooting results, it seems to me that is

entirely foreseeable.

It’s further corroborated _by the fact that three |

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individuals, I believe, fired shots at Mr. Con Quoc Le. Two

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‘of them hit him before Mr. Tam 1 Minh» Le _finished him off.

The circumstances of this armed robbery, which resulted | ina
murder, were entirely foreseeable and Mr. To is fully
responsible for the consequences of the circumstances which
he set in motion.

As to the degree, whether it be first or second,
again, Felony Murder Rule would make it first-degree murder.
But Mr. To has indicated by his actions, not only in this
instance but in others as well, including the attempted
murder of An Le, that he has no hesitation to take the life
of another person.

And from all the facts and circumstances of this ,

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case, Mr. To is more responsible, frankly, than

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Mr. Tam Minh Le for the death of Con Quoc Le.

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Mr. Tam Minh Le is a retarded individual with emotional

 

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problems. Mr. To is a calculating, intelligent individual

 

 
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and he knew what he was doing when he did it.

So that your application for a different guideline
will be denied.

MR. CASTILLO: Very well, Your Honor. So then the
probation office’s calculation would be --

THE COURT: Calculation of 43 points for the base
offense level will be adopted by the Court.

MR. CASTILLO: Well, Judge, then the next
objection that I have for the Court’s consideration is a
two-level enhancement for obstruction of justice. This has
to do with the September 22nd, 1994 beating of An Le ina
holding cell.

THE COURT: Now, the only thing I got about that
was a report -- I believe I had a report during the trial
from the Marshal’s Service. Maybe you better put some proof
on about that, Ms. -- as to whether or not Mr. To was the
one who did it and whether or not it was in fact an act of
intimidation of a witness.

MS. THOMAS: Your Honor, there was testimony at
trial by Dung Quoc Nguyen about witnessing that beating. It
wasn’t just a report. I believe we had submitted --

THE COURT: Remind me of that testimony. You all
have the advantage. The Court is not provided a copy of the
transcript unless you cite it to me and cite me the page

numbers.

 

 
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MS. THOMAS: Your Honor, Dung Quoc Nguyen
testified he was in a holding cell downstairs along with all
of the other co-defendants. And I believe he described at
trial how they were all chained together in different rows.
An Le was next to him. He testified that Lap Van Le
originally elbowed An Thanh Le. An Thanh Le fell to the
ground. Mr. To also struck An Le, and the statement was
made to Dung Quoc Nguyen, You didn’t see anything. I have
to refer to the trial transcript and I can get you that

citation.

THE COURT: Well, let’s see if Mr. Castillo agrees
that that occurred.

MR. CASTILLO: I agree that’s what the testimony
was of Mister -- of Dung Quoc Nguyen. However, Judge,
again, there’s no -- I mean, let’s just assume for a minute
that the beating did occur, that Mr. To did in fact strike
him. There’s no indication even from her reciting of her
recollection of the testimony that it was, You better not
testify. You better change your testimony, or anything to
that effect.

We don’t know why this beating occurred. |
Mr. An Le did not testify. There’s no indication that
Mr. An Le did not testify because he was threatened by
anyone. Here we’re getting a two-level

obstruction-of-justice enhancement for a battery that

 

 
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occurred outside the scope of the indictment, prior to
trial.

They were all in the holding cell, and let’s say
he was assaulted and said, You didn’t see anything. That
doesn’t mean it’s obstruction of justice. But what does
that mean? Assuming that we have to take the testimony as
given by this witness, what does that mean? Is that an
obstruction of justice? And I would submit that it doesn’t
rise to the level of a two-level enhancement.

THE COURT: All right, sir. Let me hear you on
that, Ms. Thomas.

MS. THOMAS: Your Honor, the obstructive
behavior -- let me just flip to the particular guideline,
Your Honor.

THE COURT: Obstruction of justice should have
some evidence that the motivation for this attack was to
prevent his testimony or in some way try to change his
testimony.

MS. THOMAS: That’s correct, Your Honor.

THE COURT: You know, he was mad enough to try to
kill him once when he thought he was cooperating with the
FBI. But is this not piling an inference on an inference
Ms. --

MS. THOMAS: I don’t think so, Your Honor,

especially in light of some of the other documentation that

 

 
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we all received during the course of this trial.

THE COURT: And that’s the --

MS. THOMAS: Those are the letters that were
attributed to Mr. To that -- or the threats attributed to
Mr. To in letters by An Le to Nguyen Tu Doan as well as the
actual fight that broke out between the defendants in this |
case,

After the -- after the testimony of Nguyen Tu
Doan, if Your Honor will recall, there was an incident in
the sally port of the Morgan Street jail, I believe that was
the report that Your Honor was referring to, and Mr. An Le
was the individual both assaulted prior to the indictment,
which formed a basis for one of the predicate acts, as well
as he’s assaulted in a holding cell after a court hearing.

And keeping in mind that An Le was the only
individual that for a short period of time was let out on
bond, Mr. To, you know, clearly believed Mr. An Le was going
to be a witness against him at trial.

THE COURT: I think it’s -- you know, I’m
accepting as true the fact that he was assaulted in jail and
assaulted by Mr. To. I think it’s fairly obvious they don’t
like each other. But to say that that rises to the level of
obstruction of justice, Ms. -- without more is inference
upon inference.

MS. THOMAS: Your Honor, I accede to your ruling,

 

 
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obviously. We don’t have more to give the Court.
THE COURT: Well, you know, several of these
witnesses were scared of Mr. To, that was obvious at trial.
Mr. Doan, Mr. Tran, and probably with good reason. But I/’1ll

reserve that.

Go ahead now and let me hear you on the rest of
your objections, Mr. Castillo.

MR. CASTILLO: All right, Judge, that objection --
because Mr. To was convicted of all nine counts: and there’s
four separate groupings and that enhancement is on each
group, obviously we’re at a level 43 and that objection
would apply to all of them.

Judge, I would also -- well, as far as the one
count of the 924(c) that you ruled this morning on Bailey,
that objection, I guess, would also be overruled?

THE COURT: That is -- that is noted for the
record and you need not reiterate it. But I will await the
judgment of the Eleventh Circuit as to whether or not Bailey
also deleted 18 United States Code, Section 2, from the
books, and I don’t think it did.

Now, go ahead.

MR. CASTILLO: All right, Judge. And then also
just with relation to Mr. To’s May 31st, 1996, probation
revocation hearing, he was assigned three points for --

Criminal History Points for a probation violation hearing

 

 
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which, as the Court will recall, Mr. To was on probation for
being a felon in possession of a firearm during the course
of the trial. Recently what happened was he was taken to
state court and ordered to terminate his probation because
of the federal proceeding because this indictment and
conviction was the basis for that violation.

- We went before the trial judge, and what the trial
judge did there was defer to the federal court, in essence
give Mr. To a time-served sentence. Technically Mr. To did
not have a day of credit for that violation of probation
because he had not been served with a warrant, the arrest
warrant.

But after of the trial court heard that Mr. To had
been detained since December 22nd of 1994 and been in
custody, that he has been convicted and was facing
substantial time here in the federal courts, the trial court
in essence what they did was defer to the federal court and
said, Well, then what we’1ll do is give him credit for time
served, and gave him credit for 525 days, which was the
calculation he had from December 22nd, 1994, to May 31st of
1996, and said, We’ll sentence you to that.

Well, he was already enhanced two levels or two
points for -- two criminal history points for being on
probation. On top of that, he’s then given an additional

three points for the same revocation on the same charge, and

 

 
     

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what I think that is is overrepresentative of his Criminal
History Category, of his criminal history, and it amounts to
double counting.

And I would submit to the Court that instead of
the: Category V that the probation office has, that it should
be reflected to go down to Category III, remove those five
points and then he’s placed in a Category III, and I think
now: we’re about a level 46, Category III. I don’t know
that -- well, it doesn’t make a difference, but that’s my
objection to the criminal history points.

In essence, it’s a discretion of the Court now to
determine whether or not it’s overrepresentative, although
it may be properly scored by the probation office, but the
Court can look at it and say, Wait, there’s something wrong
here. It’s double counting and it is overrepresentative of
his criminal history. .

THE COURT: You agree that it does not make a
difference in the sentence to be imposed?

MR. CASTILLO: Not as the Court’s ruling. Now,
obviously should you be reversed on that ruling, then it may
have an affect later on. But accepting everything --

THE COURT: Let me hear you, Ms. Thomas, on that
matter.

MS. THOMAS: Your Honor, as I understand it,

Mr. Castillo is indicating that the probation office has

 

 
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correctly scored Mr. To’s criminal history category; is that

correct?
nia MR. CASTILLO: Yes.
wobie - MS. THOMAS: But he is arguing that it is

overrepresentative --

?

her. THE COURT: Well, I think he also is objecting to
the: three points added for revocation of his probation for
which: he’s already received two points for the probation
itself.

ate. MS. THOMAS: Well, Your Honor, I think --

THE COURT: And this all occurred -- and the
revocation of probation is this offense.

MS. THOMAS: Correct, Your Honor.

THE COURT: As a result of this offense.

MS. THOMAS: Well, Your Honor, the two are
separate. I support the probation officer’s calculation.
The two are separate. The guidelines indicate that if you
commit an offense while under some kind of a rehabilitative
sentence, you’re assessed two levels.

He -- because of the instant indictment and not
just the indictment, his conviction on that indictment, he
was take -- he faced in state court a probation revocation
on the four-year probationary sentence he received for

possession of a firearm by a convicted felon. They gave him

the 525 days.

 

 
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Dyas THE COURT: Twenty-five, or 545 days --

MS. THOMAS: Twenty-five days, 525 days in
confinement, which in essence is what he had served here
while awaiting trial. They then properly count the fact
that that 525 days is considered his sentence on the
underlying offense. So the probation office has correctly
scored Mr. To’s criminal history on that offense. It is a

separate issue whether the Court feels that the Criminal

 

History Category of V overrepresents Mr. To’s criminal
history.

We would assert that it does not overrepresent his
criminal history, because obviously the criminal history
calculations are inteded to give the Court guidance in
determining what, among other things, what Mr. To’s_

likelihood of recidivism is in this case. And, you know, he

 

has a substantial criminal history, and_not unlike others

 

 

who have a Criminal History of V. We have a possession of

 

 

cocaine offense, an armed robbery offense, a grand larceny

 

offense, and then possession of a firearm by a convicted

 

 

felon. And these are unrelated to the conduct_here.

 

THE COURT: All right.

Now then, Mr. Castillo, do you have further
objections?

MR. CASTILLO: My objection on Paragraph 9, Judge,

having to do with the 5K2.0 not being calculated by the

 

 
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guidelines, when I filed that what I contemplated was the
actions taken on April 24th. So I would just merge that
with the other argument and that’s why I cited that as far
as not contemplated by the guidelines. But there is a
application note which the Court has ruled on.

And in light of that, I have -- the other argument
that I would advance to the Court obviously is the
three-level enhancement for role in the offense, but I think
the Court has made its findings this morning that Mr. To is
in fact --

THE COURT: In a leadership role.

MR. CASTILLO: -- in a leadership role. So in
light of that I have nothing further.

THE COURT: Ms. Thomas, do you wish to be heard
further on any of these objections?

MS. THOMAS: No, Your Honor, I do not.

THE COURT: All right. Then the Court will rule

 

on the objections. I think I’ve fully discussed the

 

 

accountability of Mr. To for the murder of Con Quoc Le and

 

 

that 43 is the appropriate level under 2Al1.1.

 

 

His role in the offense is that of leadership and

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the three-level enhancement is appropriate.
You object -- you didn’t address this,
Mr. Castillo, but do you object to the three-level

enhancement for five or more --

 

 
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MR. CASTILLO: Well, that was the last thing I
said.

THE COURT: Oh, all right. The conspiracy
consisted of more than five or more persons, so that
objection is overruled.

Then the two-level enhancement for obstruction of
justice, that may have been the motivation for the attack in
the jail, but the proof that that was the motivation is
lacking. So I’m going to sustain the objection to that.

And as to the probation revocation of points,
those three points were actually assessed for the prior --
for the prior conviction of possession of a firearm by a
convicted felon, and the two points were because he was on
probation at the time of the commission of this offense. So
that’s appropriately calculated by the probation office and
it does not overrepresent the criminal history.

So the Court determines that the offense level’s

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46, the Criminal History Category is V, the sentencing range

 

 

is life in prison.

What’s the fine range?

THE PROBATION OFFICER: It remains the same,
Your Honor, 25,000 to 250,000.

THE COURT: Fine range is 25,000 to 250,000. And
supervised release is -- well, there are some mandatory

Minimums also. There’s consecutive sentences, the life

 

 
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imprisonment is as to Counts 1 and 2. There are mandatory
| consecutive sentences required in this case as well.

Tee As to Counts 3, 4, 5, and 6, the guideline on that
4 fis 20 years.

: Is that a mandatory minimum?

MR. CASTILLO: No. I think that’s a statutory

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.7; |maximum, Judge.

 

" ‘or MR. THOMAS: That’s a statutory maximum.

: THE COURT: What’s the guideline on it?

10: Eh MS. THOMAS: Well, since he’s at a level 43, it
EV would be 20 years.

THE COURT: All right. Then as to Counts 3, 4, 5,
and 6, the guideline requires 240 months, which can be
concurrent with the life sentence.

As to Count 7, a five-year consecutive mandatory
is required.

As to Count 8, a 20-year consecutive is required.

As to Count 9, a 20-year consecutive is required.

 

Now, then, I’ll hear you, Mr. Castillo.

Special assessment of $450 is also required. And
dividing up the restitution, $8,700 should be paid to the
Lins.

Are there other victims to whom restitution is
required to be made?

MS. THOMAS: Your Honor, the probation office has

 

 

 

 
 

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indicated that restitution in the amount of $3,563.21 as

2° |e. To’s portion is owed to the Southland Corporation, that

would be to 7-11.
x.
ie. THE COURT: That’s the bank, the Barnett Bank?

MS. THOMAS: The Barnett Bank drive-thru incident,

   
 
  
  

‘End then $5,164.21 to the Lins.
= Bote
ee

Ae THE COURT: All right. Those amounts will be

we MR. CASTILLO: Judge, I would just add in light of
‘the financial condition of the defendant, I would ask the
Court to waive fines of cost of supervision.

THE COURT: I will do that, yes.

Let me hear you further with anything else you

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ett

 

fis would like to say.

fis MR. CASTILLO: No, Your Honor, I was going to
Hie check with my client to see if he would like to say

B17 anything.

i 18 THE COURT: Yes, see if he would like to say
19 anything on his own behalf.

f 20 MR. CASTILLO: Your Honor, I have nothing further
5 21 to add in light of the Court’s ruling over previous

b 22 objections, and Mr. To has indicated he doesn’t wish to
£23 address the Court.

24 THE COURT: Is there a victim in the courtroom?

g 25 MS. THOMAS: No, Your Honor.

 

 

 

 
  

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CASTILLO: This is Mr. To’s family,

COURT: I understand. Would they like to be

BRUCE TO: Yes, Your Honor. May we approach

COURT: Come around.

   

CASTILLO: Your Honor, I would like to

Ba
‘introduce Mr.
Be

see:

Bruce To, who is the defendant’s brother.

     
   

. [ae

1 |B MR. BRUCE TO: Younger, sir. Thank you for giving

ron
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‘me the opportunity to address the Court, yourself, and the

THE COURT: Older or younger, Mr. To?

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13. ‘prosecutors. I just wanted to introduce my mother, my
14-| father, my sister-in-law, and my youngest sister.

With all due respect to you and the prosecutors, I
would like to ask several questions on behalf of my family.
Conghau To, my brother, was working for and helping the
government and the FBI. Why is he being punished the most?
That’s my first question. .

My second question was, from reading the
transcripts, there was no evidence linking my brother to any
crimes. Why is he being punished again? Is it because of
what the other convicted criminals testified after they
found out that my brother was helping the government and the

FBI?

 

 

 

 
 

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I’ve heard your sentences and understand them.
There’s nothing we can do financially and all we ask you to
do is to review the case and transcripts much more
thoroughly to see there are many inconsistencies with the
prosecuting witnesses and conspiracy among the other
defendants.

oY That’s all I have to say.
e. win. THE COURT: Would any of the other members of the
family wish to say anything?
mE Ms. To?
Colugk MS. NGUYEN: Thank you for letting me talk today.

MR. CASTILLO: Your Honor, this is Con Nguyen.

THE COURT: Yes. She came to this country very
tragically and had some very traumatic experiences.

MS. NGUYEN: I’m very hurt to come here and see my
son over there, and very hurt because I’m his mother and not
doing my job to protect him and to help him. But the only
thing today I want to talk to him that the last time he
knows that I was right because when he asked me my opinion
to help the government I told him, In your situation if you
do that, like you play with fire, anyway you get hurt. And
now he get hurt.

Thank you very much.

MR. CASTILLO: This is Ms. Amanda To.

THE COURT: Yes, sir. I know Ms. To.

 

 
   
   

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MS. AMANDA TO: I testified. I just wanted to say

: Be eas: anybody to commit any crimes. Nobody could pay me a

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million to commit a crime. These people chose to do what.
they did. Retarded or not retarded, the boy was retarded,

Heimade his way to the restaurant, he made his way to order

  

the: beer, he made his way to possess the gun. I do not
Pe

believe that my husband forced anybody to do anything. I
think that’s just an excuse.

:.. I would say what I had to say, too, to get a

 

lesser sentence. I just want you to know I would not be
here. I obey the law, I always have, and I love my husband
and I don’t feel he’s guilty. I know he was convicted, but
Iidon’t feel he’s guilty. I don’t think he should take the
wrap for all that these guys did just because they pointed
the finger at him.

He was in a very sticky situation trying to help
the FBI, trying to be a husband, the whole situation. He
just fell apart. It just wasn’t a fair situation and he was
burnt in the end. I don’t feel like he should take the wrap
for everybody. I just wanted to say to everybody in the

courtroom thank you for hearing me, but I do believe my

husband is innocent.

 

 

 
 

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THE COURT: All right.
MS. TO: I’m Mr. To’s youngest sister. My family
protected me from this whole case, so I don’t know every
single detail of it. But from the things I’ve heard, my

brother is some kind of monster, some kind of conniving gang

jeader, I don’t know what. My brother -- he’s my big
brother and he’s also my -- we didn’t have -- I mean, my
ak

Oa

‘father wasn’t around, so he was my father also. He had to
‘play double roles.

gor My brother’s a human being. He has a family that
‘loves him very much. This is not a monster. He’s not -- I
don’t know what I can say. I don’t know what else I can

say.

me THE COURT: Thank you.

MR. BRUCE TO: Your Honor, can I say something
else?

THE COURT: Yes.

MR. BRUCE TO: I ask if you can reconsider your
sentence.

THE COURT: I’m sorry?

MR. BRUCE TO: I’m asking to see if you can
reconsider your sentencing for my brother.

THE COURT: All right. Ladies and gentlemen, I
certainly appreciate the love that you bear for your brother

and son and husband, and I appreciate family loyalty. It’s

 

 
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-|the very foundation of society.
i of prit However, sometimes family loyalty can blind one to

AY thet truth. Your husband, son, brother committed some very

ae ‘serious crimes and did some serious injury to a lot of

  

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ie ‘some’ point in his service of the sentence that I have to

ty ay

i | lnobee he may be eligible for release. But at this time it
ae ‘ecm my responsibility to impose upon him a life sentence plus
s al number of years. He may never be released. He may still
s be able to make a contribution while in the penitentiary and

s|certainly you can maintain a relationship with him. But he

has.to pay for his crimes, and he committed some very
serious crimes in the belief of the jury and in the belief
of this Court, and I heard every word of the testimony.

So thank you very much. You may be excused.

Come around here, Mr. To. Is there any reason why
sentence should not be imposed at this time?

MR. CASTILLO: No legal reason, Your Honor.

THE COURT: All right. Mr. To, upon the verdict
of the jury finding you guilty of Counts 1, 2, 3, 4, 5, 6,

7, 8, and 9, the Court finds you guilty.

 
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sabe: On Counts 1 and 2, you are committed to the Bureau
of Prisons for the remainder of your natural life, each
sentence to run concurrently.
we,

On Counts 3, 4, 5, and 6, you are sentenced on

‘of those counts to 240 months to run concurrently with

 

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HatSentences imposed in Counts 1 and 2.
tht
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On Count 7, the Court is required to impose a

  

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‘five+year sentence consecutive to those imposed to Counts 1

 

So in total, you are sentenced to life imprison
plus forty-five years consecutive thereto. Fine is waived,
cost of incarceration is waived, $450 special assessment is
imposed.

Now then, the Court advises you of your rights of
appeal. You have a right to appeal your conviction. You
have a right to appeal your sentence. If you wish to
appeal, you must file an appeal by July 26. If you are
unable to pay for a lawyer to represent you, the Court will
appoint a lawyer to represent you on your appeal. If you
wish:'to file a notice of appeal, you may ask the Court --

courtroom deputy to file that notice of appeal on your

 
   
  
    

Case 8:94-cr-

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behalf and it will be done.

Now, let me ask you if you understand your rights,

Mr. To?

THE DEFENDANT: Yes, I do.

THE COURT: All right. All right then, have I

omitted anything, Ms. Thomas?
MS. THOMAS: Your Honor, I did not hear any
provision regarding restitution, and have you waived that?
THE COURT: I did not. I did order it earlier but
Twill do it again. The numbers are not in my -- are not at

my fingertips. The amount owed to Barnett Bank on the

amount --
at : MR. CASTILLO: To 7-11.

THE COURT: -- and his portion to the Lins?
ae MS. THOMAS: It would be $8,700.42.

THE COURT: How much of that to the Lins?

MS. THOMAS: $5,164.21.

THE COURT: And how much of that to the Barnett
Bank?

MR. CASTILLO: Southland Corporation.

MS. THOMAS: Three thousand --

THE COURT: Southland Corporation.

MS. THOMAS: $3,563.21 to the Southland
Corporation.

THE COURT: All right. Those amounts will be

 
  
  
 
 
 
  
      
 
 
  

Case 8:94-cr- 002% ai i: Ba K

 

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MR. CASTILLO: Yes, Your Honor. If the Court
guld « ‘consider recommending to the Bureau of Prisons that

ne defendant be housed close to Tampa. His family is her

THE COURT: He may get a level five.

MR. CASTILLO: I understand, Judge. But whateve

THE COURT: I’l11 recommend that he be incarcerat

the appropriate level determined by the Bureau of Priso

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t. the nearest location to Tampa.

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MR. CASTILLO: Your Honor, the defendant has als
indicated that he wants to invoke his right to appeal. I
ii have been appointed and I would ask the Court to continue
#17, | appointment.

gis | THE COURT: Your appointment will continue to
19 conduct the appeal, and Ms. Thomas, you’ll file the notice

420 Jof appeal on his behalf.

B22 fe: Is there anything further?

22. zh MR. CASTILLO: No, Your Honor.

- 23 | MS. THOMAS: No, Your Honor.

| 24 | THE COURT: All right. Mr. Marshal, he’s in you

25 | custody.

 

 
The Court will be recessed until 9 o’clock
jorrow morning.
THE COURT SECURITY OFFICER: All rise.

(Court adjourned at 3:26 p.m.)

CERTFICATE
I certify that the foregoing is a correct
nscript of the stenographic record of proceedings held in

: above-entitled matter.

aS V0) EMG

thael J. Cano, Court Reporter Date

 

 

 

 

 

 
Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 58 of 115 PagelD 654

UNTED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIPA
FAMPA DIVISION

CONGHAU +4HUU TO,
PETITIONER ,

v. No: G4-2G3-CR-T- I7E

_ —_ ~ —_—_— —

UNTED STATES OF AMERICA
RELLONDEN T,

 

Ns) UNDER 27 U.S.C 22545

(5) MOTION FOR RESENTENC/NG

Nop Momn LAW BY HE U.S.
subeeue COURT |
Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 59 of 115 PagelD 655

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MOTION UNDER 27 VU, S.C 12.255
(H\(3). MOTION FOR 2ESENTENCING

IN DGHT OF NEW LAW BY THE
U.S. SUPREME COVKKAT.

COMES Now CONGHAY HUU TO } APPEARING feO-

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SE, KESFECTFULLY MOVES FAIS HONORABLE CoUueT

Jo £ESEWTENCE PETITIONER . PETITIONER'S SENTENLE
IS UNCONSTITUTIONAL. AND UNJUST AS HE SUFFERS

FROM A NFE SENTENCE PLUS LS YEARS ConSECUIMN
IN VIOLATION OF HIS DUE PROCESS AND HAS HAD F/S
BULDEN OF AN UNCONSTITUTIONAL. SENTENCE FOR
ALMAST RO YEARS . ,
PURSUANT TO THE U:S. SUPREME CovkT S

DECISION IN ALLEYNE V. ULS (33 S, ct 62/57, KE
L. 3/4 lS DISTeCT CougT AND FHE CONERNMENT

TAKEN AND ERLED IN A PROCEDURAL RULE

HAD MIST
THAT IMPLUCATED FUNDAMENTAL CONSTITUTIONAL

PROTECTION OF SIXTH AMENDMENT TULY~ TRIAL
RIGHTS £0 MNANT’S SIXTH AMENDMENT 21GHT

WAS VIOLATED .
QTATEMENT OF FHE CASE

4 NINE COUNTS INDICTMENT WAS SERVED ON

THE PETITIONER ON (R fod! Gly IF US.C (162 (6)
AND (e/), IP uv, &,¢ (751 (a) , AND PVE G 6)

AFTER BEING FOUND GUILTY OF ALL MNE COUNTS

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Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 61 of 115 PagelD 657

AT TRIAL PETITIONER WAS SENTENCED ON 7 // 1C/4
PETITIONER HAD FECEIVED TWO CONCURRENT LIFE
SENTENCES FOR toUNTS ONE AND TWO. 240
MONTHS TO SERVE CONCURKENTLY WITH We LIFE
SENTENCES FOR CoWTS 3, A, 5): ANP G. AS
YEARS CONSECUTWE SENTENCE FoR CouNT 7, AND
Two CONSECUTIVE 20 YEARS SEWTENCES FOR COUN?
? AND G, THE JURY WAS INSTRUCTED AT DELIBERATE
THAT ([F THE DEFENDANT WAS FOUND GULTY OF
COWNTS 5, A, 5, ANDO G , HEY HAD TO FIND THE
DEFENDANT CHUILTY OF COUNTS 7, g AND G OF THE
INDICTMENT .

AT SENTENCING , (ETI TIONER RECEIVED TWO
CONCURRENT LIFE SENTENCES WH/CH THE PETITIONER
WAS NEVER CHARGED IN THE INDICTMENT +: FAGE/G
OF TE SENTENCING TRANSCRIPT “THE COURT. ALL
RIGHT THEN FE COURT WiLL RULE ON THE OBVECTION
Z THINK Z'VE FULLY DISCUSSED THE ACCOUNTAAILJT:
OF MR. TO FOR THE MURDER OF Con Quoc LE Awd
AB IS THE APPROPRIATE LEVEL UNDER 2Al |. HIE
ROLE IN FHE OFFENSE IS FAT OF LEADERSHIP
AND THE 4 LEVEL ENHANCEMENT IS APPROPRIATE:
PAGE (7-1 “HE COURT ~ THERE'S CONSECUTIVE
SENTENCES , FHHE LIFE IMPRISONMENT AS TO COUNT
/-AND 2,” °

THE COVKT ERRED IN SENTENCING PETITIONER
TO A LFE SENTENCE BY ENANCING PETITIONER.
UNDER 24/,/, FEDERAL FIRST. DEGREE MURDER ,

A STATUTE THAT DID NOT EXIST IN PETITIONER ls”

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Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 62 of 115 PagelD 658

INDICTMENT. ALS0 A S YEARS AND TW 2.20 YEARS
CONSECUTIVE SENTENCES ON CoUWTS 7,& ) AND 9
WH/CH THE COURT INSTRUCTED THE YRY FAT IF
THEY FIND FAE PETITIONER. GULTY OF COUNTS 3 V4
5, AND G OF FYE INDICTMENT , THEY MUST ALSO
FIND THE PETITIONER GUILTY OF COUNTS 7 P, AND
G. THE COURT ERRKED IN ENHANCING PETITIONER
WTH AS YEARS CONSECUTIVE , IN WOLA TION OF

THE PETITIONER'S DUE PROCESS. PETITIONER ALSO
RECEIVED ENHANCEMENTS FOR OBSTRUCTION oF
JUSTICE AND LEADERSHIP ROLE WHOUT A WRY 'S
DETERMINATION , ALL IN VIOLATION OF PETITIONER Ks
DUE PROCESS RIGHT WHER FE SIXTH AMENDMENT,

MEMORANDUM OF POINTS AND AUTHORITIES

ON G 17/ IS), THE U.S. SUrkeEmE COURT DECLARED
IN ALLEYNE V_U.S. 133 S. cf LIS) 196 L. Cc 20/
314 OEREVLED HARRIS V. US S35G US. S45 ) red
S. CF. 2406 (2002) THAT ANY FACT FUT INCREASES
A MANDATORY MINIMUM SENTENCE FOR A CRIME 1S AN
ACTUAL ELEMENT OF FIE CRIME THAT MURT BE
SEPARATELY SUBMITTED TF THE JURY AND PROVEN
BEYOND A REASONABLE DOUBT. THE JURY'S DETEM/-
NATION IS NECESSARY TO SATISFY A DEFENDANT
RIGHT UNDER THE SIXTH AMENDMENT 1N CONTONCTION
WI THE DUE PROCESS CLAUSE, IN THR CASE AS
PROVEN WITH THE EXHIBITS OF PETITIONER'S
INDICTMENT AND SENTENCING TRANSCRIPTS , IT CLEARLY

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Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 63 of 115 PagelD 659

PRONES THAT HE WAS SENTENCED /LLEGALLY
UNDER A STATUTE FIAT WAS NEVER SEEN DY A
JURY FHAT WAS NoT IN HIS INDICTMENT FHAT
RESULTED INA LIFE SENTENCE AND MORE AS
WELL AS MULTIPLE ENHANCEMENTS THAT THE
UJUPGE AND NOT FHE JURY FOUND H/M GUILTY
FOR, IN VIOLATION OF HIS DUE FPROCESS UNDER

He! SIXTH AMENDMENT.
THE SUPREME COoUeT IN ALLEYNE EXTENDED

THE PULE OF APPRENDI V. NEW VYERSEY 530 US.
AGG , 120 S. ct. 254% (2 2000) PECOGN/ ZING THAT
ANY FacT WH/CH INCREASES E/THER END OF FHE
SENTENCING RANGE PRODUCES A NEW fENAL TY AWD
THEREFORE CONSTITUTES A fPROWABLE INGREDIENT
OF THE OFFENSE, “FACTS THAT INCZEASE FHE
MANDATORY MINIMUM SENTENCE ARE THEREFOKE
ELEMENTS FHAT MUST B& SUBMITTED TR THE WRY
AND FOUND BEYOND A REASONABLE DOUBT". ALLEWE
Vv. US. 55 Ss, cf QIS), LISF, 19E L. td) 2

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AVENUE UNDER 22551 F)(3)

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QP USC. 2255 (FS) (3 PERMITS A FIRST
aet55 MOTION FT BE CoNS/DERED TUMELY IF iT IS

FILED WITHIN ONE YEAR OF A SUPREME cdURT 'S
DECISION THAT CZEATES A NEWLY RECOGN ZING

RIGHT MADE KETROACTIVELY WPLICABLE TO CA
ON COLLATERAL REVIEW, 2P U.S.C. 2255 (F)(5).

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Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 64 of 115 PagelD 660

ZF THE CIRCUIT PRECEDENT WAS /NConS/ISTEN,
wiTH “THE LAW OF THE UMTED STATES 22 IF
THE NERRULING OF CIRCUIT PRECEDENT IS A“FACT?
THEN THE LIMITATION PERIOD BEGAN TO RUN WHEN
CALLE YNE"” WAS DECIDED, SEE Me. QUIGGIN' V. PERKINS

J. S$, 135 S&F. /G2L, IG27, 185 1, £. 2a.
1O1F (2.013).

RETROACTIVITY OF ALLEYNE

ALLEYNE MUST DE GIVEN FULL KE TROACTIV/TY
EFFECT TO CASES ON COLLATERAL REVIEW | ANP
TREATED AS A “WATERSHED RULE” AND NEW Sub-
STANTINE RULE OF LAW. FAILURE TO OBSERVE THE
ALLEYNE RULE CARRIES A SUBSTANTIAL 2/SK THAT
ONE ACCUSED WILL BE EITHER WRONGLY CONVICTED
OR SUBJECTED TO A SENTENCE FAT THE LAW
CANNOT /|MPOSE ON HiM Z WHICH NOT ONLY ERODES
THE PUBLIC CONF/DENCE IN THE JUSTICE SYSTEM
BUT IMPERILS THE SYSTEM'S INTEGRITY . UNDER
THESE C/iRCUM STANCES , AND (N FHS CASE, FALE
INTEREST IN FINALITY MUST WELD . ALLEYNE IS
A NEW SUBSTANTIVE RULE OF LAW. NEW SUBSTANTIVE
RULES GENERALLY APPLY RETROACTELY, SEE. ,
ScHRIRO Vi SOMMERLIN ) SALA AS. She ‘357 IQA
Sct. 2519 154 L. td 2d. AL2 (2004). ‘A RULEIS
SUBSTANTI VE RATHER THAN PROCEDURAL (F IT ALTERS
THE RANGE OF ConDUCT OR FUE CLASS OF PERSONS
THE LAW PUNISHES ."Tef AT B53, THIS INCAUDES

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Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 65 of 115 PagelD 661

DECISIONS THAT NARROW THE SCOPE OF A CR/IMINA
STATUTE BY INTERPEETING ITS TERMS." Zo AT
35/, SUH RULES APPLY RETROACTIVELY BECAUSE
THEY NECESSARILY CARRY A SIGN/FICANT RISK
THAT A DEFENDANT STANDS CONVICTED OF ANACT
THAT THE LAW DOES NOT MAKE CRIMINAL” “OR FACES
A PUNISHMENT THAT THE LAW CANNOT IMPOSE UPON
+m", BOUSLEY, 525 US, AT G20-2/ (QUTING
DAVIS | 417 US. AT BLG), “IN CONTRAST, RULES
AT REGULATE ONLY THE MANNER OF DETER MINING
THE DEFENDANT'S CULPABILITY ARE PKOCEDURAL .
“schoo, 542 US, AT 353). “peocEbURAL RULES
DO NOT PRODUCE A LLASS OF PERSONS CONW/CTED
OF CONDUCTS THE LAW DOES NOT MAKE CRIMINAL )
BIT MERELY RAISE FHE fOSS/B/LY7Y FAT SOMEONE
CONVICTED WITH USE OF FEE INALIDPATED PROCELUSE
MIGHT HAVE BEEN ACQUITTED OTHERWISE. “Te AT
DEA, ALSO SEE CHAMBERS | 555 US. AT 122
WAS SUBSTANTIVE AND THEREFORE APPLIED RETROPCTINE
(ALSo SEE BEGAY 5535 US. AT 44-45) ) SHIPP,
5EG Fo 3d /0GO, UNDER THE FRAMEWORK OF
TEAGUE V_LANE, 489 U.S. 298, 109 S. cH 1060
AN OLD RULE APPLIES Bott ON DIRECT AND COLLATERY
REVIEWS , BUT A NEW RULE IS GENERALLY APPL CALE
ONLY 0 CASES FAT ARE STILL ON DIRECT PEVWIEW y
A NEW RULE 1S RETROACTIVELY INA COLLATERAL
PROCEEDING ONLY IF 1.) THE RWE /S SUBSTANTIVE
OR 22.) THHE RULE IS WATERGIED RULE OF Ce/MINA.
PROCEDURE IMPLICATING THE FUNDAMENTAL FAIRNESS

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Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 66 of 115 PagelD 662

AWD ACCURACY OF Caimi NAL PEOCEEDING , WHAR TON

V_ EOKTING | S44 WS, 496’, AIG’ 1.27°S. C#I173
IGT L. fd 2/1 (2007) (INTER NAL. QUOTATION *
MARYS AND BRACK OMITTED || DESCRIBING TEAGLE
V. LANE, AYG US. 2PP 109 S.'C¥ /0CO. IN FAE
PETITIONER'S MOTION, IT IS CLEAR THAT ALLEYNE
AOPLIE® KETROACTIVELY AS IT MEETS BOF! PRONGSE
OF LE TROACTIVITY AS NOT ONLY 1T 1S A WATERSHED
RULE, LUT ALLO A NEW SUBSTANTIVE RULE.

FINALLY , AND IN SHORT ) VETITIONER SUFFERS
A LIFE SENTENCE AND AS YEARS IN VIOLATION OF
HIS DUE PROCESS AS HE WAS SENTENCED LWDER
COBES AND ENYANCEMENTS FHAT DO NOT EX/ST
IN +hS INDICTUEWT AND WERE NOT PLOPERLY
SUBMITTED FOR A PROPER JURY DETERMINATION
ALA IN VIOLATION OF HIS SIXTH AMENDMENT AND
DUE PROCESS NGHTS BY THE UNTED STATES
CONSTITUTION .

UNDER "ALLEYNE” ANY FACT INCREASES 7
MANDATORY MINIMUM SENTENCE FOR A CRIME IS
AN ACTUAL ELEMENT OF FAG CKYME MUST BE
SEPARATELY SUEMITTED To THE JURY AND PROVEN
LEYOND A REASONAFLE BOUBT.

CONCAUSION

 

PETITIONER PRAYS THAT THIS COURT WILL
GRANT HIS MOTION FoR THE ABOVE MENTIONED
RERSONS IN FHE INTEREST OF VUSTICE. FAT

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Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 67 of 115 PagelD 663

PETITIONER WiLL O€ RESENTENCED ALP H/S
SENTENCE STANDS UNCONSTITUTIONAL AND IN
MOLATION OF DUE PROCESS. __

 

 

— On 6/16/14 TWo COMES WERE FILED WITH |
THE CLERK OF COURT FOR VU. S,_PISTRICT. CORT, _
_MIDDLE DISTEICT OF FLOKIDA (TAMPA. , AND. ONE

COPY TO. THE U.S. ATTORNEY'S OFFICE, SUTE 309
(400 Ww. WASHINGTON. ST, , 2 RLANPO, FLORIDA 26H

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- UNITED STATES DISTRICT COUR
: ‘MIDDLE DISTRICT OF FLORIDA ~...
TAMPA DIVISION

UNITED STATES OF AMERICA

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v. } Case No. 94-293-cR-T- Y- £
CONGHAU HUU TO,* )
a/k/a "Tigo"; )

- HAI VAN NGUYEN;. )
4—> LAP VAN LE, )
a/k/a “Lai Van Le", )
a/k/a "Luu Van Le", )
a/k/a "Johnny"; )
TUAN DUC PHUNG;=z )
TAI TAN PHAM, ‘ )
a/k/a "Cao"; )
LIEM THANH LUONG, )
a/k/a Luong Thanh Liem; )
TUNG VAN NGUYEN, )
a/k/a "Tony "; )
NGUYEN TU DOAN; )
AN THANH LE;> )
TAM MINH LE; )
and )

DUNG QUOC NGUYEN: )

THE GRAND JURY CHARGES:

COUNT ONE

1. At all times relevant to the Indictment, the Big Easy
Restaurant, Inc., located at the Tampa Bay Mall, Tampa, Florida
was a corporation organized and existing under the laws of the
State of Florida, and which was engaged in the retail restaurant

business and whose activities affected interstate commerce.
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2. At all times relevant to the Indictment, the SouthIana—-—-

 

 

Corporation, a corporation organized and existing under the laws
of the State of Texas, operated Store number 23741 located at
7124 North Dale Mabry Highway, Tampa, Florida, and engaged in the
retail sale of food and other sundries in interstate commerce.

3. At all times relevant to the Indictment, the Shanghai
Buffet Restaurant located in Tampa, Florida was a corporation
organized and existing under the laws of the State of Florida,

and engaged in the retail restaurant business which activities

affected interstate commerce.

4. At all times relevant to the Indictment, defendants
CONGHAU HUU TO, a/k/a "Tigo"; HAI VAN NGUYEN; LAP VAN LE, a/k/a
"Lai Van Le", a/k/a "Luu Van Le", a/k/a "Johnny"; TUAN DUC PHUNG;
TAI TAN PHAM, a/k/a "Cao"; LIEM THANH LUONG, a/k/a Luong Thanh
Liem; TUNG VAN NGUYEN, a/k/a "Tony"; NGUYEN TU DOAN; AN THANH LE;
TAM MINH LE; and DUNG QUOC NGUYEN, associated together and with
others known and unknown to the Grand Jury, for the purpose of
engaging in an organized plan and scheme to enrich themselves by
committing armed robberies and to protect themselves from
prosecution by committing acts involving murder. The foregoing
constituted an enterprise as that term is defined in Title 18,
United States Code, Section 1961(4), that is, a group of
individuals associated in fact, which enterprise was engaged in

and the activities of which affected interstate commerce.
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5. From at least as early as March 1993 and continuing up
to and including June 1994, in the Middle District of Florida and

elsewhere, the defendants,

CONGHAU HUU TO, —
a/k/a "Tigo";
HAI VAN NGUYEN; +—~
LAP VAN LE,
a/k/a "Lai Van Le",
a/k/a “Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
TUNG VAN NGUYEN,
a/k/a "Tony";
NGUYEN TU DOAN;
AN THANH LE;
TAM MINH LE; t—
and
DUNG QUOC NGUYEN,
being persons employed by and associated with the enterprise
described in paragraph 4 of this Count, which was engaged in and
the activities of which affected interstate commerce, together
with others both known and unknown to the Grand Jury, did
knowingly, willfully and unlawfully, conduct and participate,
directly and indirectly, in the conduct of the affairs of such
enterprise through a pattern of racketeering activity, as defined
by Title 18, United States Code, Section 1961(1) and (5).

6. The pattern of racketeering activity committed by the
defendants consisted of the following acts:
RACKETEERING ACT ONE
The defendants, CONGHAU HUU TO, a/k/a "Tigo"; HAI VAN
NGUYEN; LAP VAN LE, a/k/a "Lai Van Le", a/k/a “Luu Van Le", a/k/a
"Johnny"; TUAN DUC PHUNG; TUNG VAN NGUYEN, a/k/a "Tony"; NGUYEN

TU DOAN; AN THANH LE; TAM M 7 and DUNG QUOC NGUYEN, named
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below committed the following acts, any one of which alone
constitutes the commission of Racketeering Act One:
Racketeering Act 1(a)

From at least as early as March 1993, and continuing up to

and including June 1994, in the Middle District of Florida, and

elsewhere, the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
HAI VAN NGUYEN;
LAP VAN LE,
a/k/a “Lai Van Le",
a/k/a "Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
TUNG VAN NGUYEN,
a/k/a “Tony";
NGUYEN TU DOAN;
AN THANH LE;
TAM MINH LE;

and t
DUNG QUOC NGUYEN,

did knowingly, willfully, and unlawfully combine, conspire,
confederate, and agree together and with each other and with
other persons both known and unknown to the Grand Jury, to
unlawfully obstruct, delay, and affect commerce as that term is
defined in Title 18, United States Code, Section 1951(b) (3), and
the movement of articles and commodities in such commerce, by
robbery as that term is defined in Title 18, United States Code,
Section 1951(b)(1), in that the defendants did unlawfully agree
to take and obtain personal property consisting of jewelry and
United States currency by means of actual and threatened force,

violence, and fear of injury, in violation of Title 18, United

States Code, Section 1951.
-Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 72 of 115 PagelD 668

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Racketee ct

From at least as early as March 1993, and continuing up to

and including June,

b

1994,

elsewhere, the defendants,

did knowingly, willfully, and unlawfully combine, conspire,
confederate, and agree together and with each other and with
other persons both known and unknown to the Grand Jury, to commit
an act involving robbery, that is, did enter a dwelling with the

intent to commit a robbery of the occupants therein, in violation

CONGHAU HUU To,
a/k/a "Tigo";
HAI VAN NGUYEN;
LAP VAN LE,
a/k/a "Lai Van Le",
a/k/a "Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
TUNG VAN NGUYEN,
a/k/a "Tony";
NGUYEN TU DOAN;
AN THANH LE;
TAM MINH LE;
and
DUNG QUOC NGUYEN,

; oO

of Florida Statutes 777.04(3) and 812.135.

The defendants CONGHAU HUU TO, a/k/a "Tigo"; TUAN DUC PHUNG;
AN THANH LE; TAM MINH LE; and DUNG QUOC NGUYEN, named below

committed the following acts, any one of which alone constitutes

RACKETEERING ACT TWO

the Commission of Racketeering Act Two:

in the Middle District of Florida and

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Racketeering Act 2(a)

On or about April 23, 1994, in the Middle District of

 

Florida, the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
TUAN DUC PHUNG;
AN THANH LE;
TAM MINH LE;
ana
DUNG QUOC NGUYEN,
did unlawfully obstruct, delay and affect, and attempt to
obstruct, delay and affect commerce, as that term is defined in
Title 18, United States Code, Section 1951(b)(3), and the
movement of articles and commodities in such commerce, by
robbery, as that term is defined in Title 18, United States Code,
Section 1951(b)(1), in that the aforementioned defendants did
unlawfully attempt to take and obtain personal property
consisting of United States currency from an employee of the Big
Easy Restaurant, Tampa, Florida, against his will by means of

actual and threatened force, violence, and fear of injury in

violation of Title 18, United States Code, Sections 1951(a) and

2.

Racketeering Act 2(b)

On or about April 23, 1994, in the Middle District of

Florida, the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
TUAN DUC PHUNG;
AN THANH LE;
TAM MINH LE;
and
DUNG QUOC NGUYEN,
Case 8:94-cr-00293-EAK-TBM Document 659 Filed 06/16/14 Page 74 of 115 PagelD 670

 
    

 
  

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did commit an act . involving murder, that: ‘is, to knowingly,

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unlawfully, and willfully kill a human being, that is, Khanh Quoc

Le, while said defendants were engaged in the perpetration of a

robbery, by firing a shotgun and two handguns at the said Khan

Quoc Le while the defendants attempted to rob the said Khanh Quoc

Le, which robbery was perpetrated by the defendants, in violation

of Florida Statutes 777.04(3), 782.04(1) (a) (2) (dad), and 777.011.
RACKETEERING ACT THREE

On or about May 7, 1994, in the Middle District of Florida,

the defendant,

TUNG VAN NGUYEN,
a/k/a "Tony";
and

AN THANH LE;
together with others not indicted herein, did commit an act
involving robbery, that is, did enter a dwelling with the intent
to commit a robbery and did commit a robbery of the occupants
therein, in violation of Florida Statute 812.135.

RACKETEERING ACT FOUR

On or about May 13, 1994, in the Middle District of Florida,

the defendant,

TUNG VAN NGUYEN,
a/k/a "Tony";
AN THANH LE;
and ©

TAM MINH LE;
together with others not indicted herein, did commit an act
involving robbery, that is, did enter a dwelling with the intent
to commit a robbery and did commit a robbery of the occupants
therein, in violation of Florida Statute 812.135.

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On or about May 23, 1994, in the Middle District of Florida,

the defendants,
CONGHAU HUU TO,

a/k/a "Tigo";
and
TUNG VAN NGUYEN,

a/k/a "Tony",
did unlawfully obstruct, delay, and affect, and attempt to
obstruct, delay, and affect commerce, as that term is defined in
Title 18, United States Code, Section 1951(b) (3), and the
movement of articles and commodities in such commerce, by
robbery, as that term is defined in Title 18, United States Code,
Section 1951(b)(1), in that the aforementioned defendants did
unlawfully take and obtain personal property consisting of United
States currency with a value exceeding $8,000 from an employee of
Southland Corporation, Tampa, Florida, against his will by means
of actual and threatened force, violence, and fear of injury in
violation of Title 18, United States Code, Section 1951(a).

RACKETEERING ACT 8IxX

On or about May 29, 1994, in the Middle District of Florida,

the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
HAI VAN NGUYEN;
LAP VAN LE,
a/k/a "Lai Van Le",
a/k/a "Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
and
NGUYEN TU DOAN,
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did unlawfully obstruct, delay and affect, and attempt to
obstruct, delay and affect commerce, as that term is defined in
Title 18, United States Code, Section 1951(b) (3), and the
movement of articles and commodities in such commerce, by
robbery, as that term is defined in Title 18, United States Code,
Section 1951(b)(1), in that the aforementioned defendants did
unlawfully take and obtain personal property consisting of
jewelry and United States currency with a value exceeding $12,000
from employees of the Shanghai Buffet Restaurant, Tampa, Florida,
against their will by means of actual and threatened force,
violence, and fear of injury in violation of Title 18, United
States Code, Section 1951(a).
RACKETEERING ACT SEVEN

The defendants CONGHAU HUU TO, a/k/a "Tigo"; and NGUYEN TU
DOAN, named below committed the following acts, any one of which
alone constitutes the commission of Racketeering Act Seven:

Racketeering Act 7(a)

On or about May 31, 1994, in the Middle District of Florida,

the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
and
NGUYEN TU DOAN,
did knowingly, willfully, and with premeditation, unlawfully
attempt to kill a human being, that is An Thanh Le, with the
intent to prevent the communication by the said An Thanh Le to a

law enforcement officer, information relating to the commission
   

wease 8:94-Ccr-00293 BAK a

 

of a federal offense in violation of Title 18, United States
Code, Sections 1512(a)(1)(C) and 2.

Racketeering Act 7(b)

On or about May 31, 1994, in the Middle District of Florida,

the defendants,
CONGHAU HUU TO,
a/k/a "Tigo";
and
NGUYEN TU DOAN,

did knowingly, willfully, and with premeditation, unlawfully

attempt to kill a human being, that is An Thanh Le, in violation

of Florida Statutes 782.04(1)(a)1 and 777.011.

All in violation of Title 18, United States Code, Section

1962(c).

COUNT

i. The allegations of paragraphs 1 through 4, inclusive of

Count One, are repeated and realleged herein as if fully set

forth at length.

2. From at least as early as March 1993, and continuing up

to and including June 1994, in the Middle District of Florida and

elsewhere, the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
HAI VAN NGUYEN;
LAP VAN LE,
a/k/a "Lai Van Le",
a/k/a "Luu Van Le",
a/k/a “Johnny";
TUAN DUC PHUNG;
TAI TAN PHAM,
a/k/a "Cao";

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THANH LUONG,

a/k/a Luong Thanh Liem;
TUNG VAN NGUYEN,
a/k/a "Tony";
NGUYEN TU DOAN;
AN THANH LE;
TAM MINH LE;
and
DUNG QUOC NGUYEN,
being persons employed by and associated with the enterprise
described in paragraph 4 of Count One of this Indictment, which
was engaged in and the activities of which affected interstate
commerce, knowingly, willfully and unlawfully did combine
conspire, confederate and agree together, and with each other,
and with other persons to the Grand Jury, both known and unknown,
to violate Title 18, United States Code, Section 1962(c), that
is, to conduct and participate, directly and indirectly, in the
conduct of the affairs of such enterprise through a pattern of
racketeering activity as defined by Title 18, United States Code,
Section 1961(1) and (5), namely, multiple acts indictable under
Title 18, United States Code, Section 1951(a) that is
interference with commerce by robbery, and conspiracy to do so,
and acts involving robbery and murder in violation of Title 18,
United States Code, Section 1512(a)(1)(c) and Florida Statutes
777.04(3), 782.04(1) (a)2d, 812.135 and 777.011.
3. It was part of said conspiracy that each defendant

agreed that two or more acts of racketeering would be committed

in the conduct of the affairs of the enterprise.

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4. It was further a part of said conspiracy that the
Gefendants would and did "case" certain persons and businesses
known to them to generate large quantities of United States
currency, as part of a plan and scheme to commit armed robberies
of these persons and businesses.

5. It was further a part of the conspiracy that the
defendants would recruit juvenile runaways to join the enterprise
believing that the juveniles would face lesser criminal penalties
if apprehended by law enforcement authorities.

6. It was further a part of the conspiracy that the
defendants did steal motor vehicles prior to committing armed
robberies in order to provide a means of escape from the scene of
the robbery.

7. It was further a part of said conspiracy that the
Gefendants did disguise their identities by the use of nylon
stocking masks and cloth bandannas and did wear gloves to prevent
leaving latent fingerprints during the course of the armed
robberies.

8. It was further part of the conspiracy that the
defendants would and did carry firearms consisting of handguns

and shotguns, and did tie victims of the aforementioned robberies

with flexcuffs and duct tape.

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9. It was further a part of the conspiracy that the
defendants agreed to murder An Thanh Le, with the intent to
prevent the said An Thanh Le from communicating information to

law enforcement authorities regarding the commission of a federal

offense.

All in violation of Title 18, United States Code, Section

1962(d).

COUNT THREE

From at least as early as March 1993, and continuing up to

and including June 1994, in the Middle District of Florida, and

elsewhere, the defendants,

CONGHAU HUU TO,
a/k/a "Tigo";
HAI VAN NGUYEN;

LAP VAN LE, ~
a/k/a “Lai Van Le",
a/k/a "Luu Van Le",

a/k/a "Johnny";
TUAN DUC PHUNG;
TAI TAN PHAM,
a/k/a "Cao";
LIEM THANH LUONG,
a/k/a Luong Thanh Lien;
TUNG VAN NGUYEN,
a/k/a "Tony";
NGUYEN TU DOAN;

AN THANH LE;

TAM MINH LE;

and
DUNG QUOC NGUYEN,

did knowingly, willfully and unlawfully combine, conspire,
confederate, and agree together and with each other and with
other persons, both known and unknown to the Grand Jury, to

unlawfully obstruct, delay and affect commerce as that term is

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defined in Title 18, United States Code, Section 1951(b)(3), ana
the movement of articles and commodities in such commerce, by
robbery, as that term is defined in Title 18, United States Code,
Section 1951(b)(1), in that the defendants did unlawfully agree
to take and obtain personal property consisting of jewelry and
United States currency by means of actual and threatened force,
violence, and fear of injury.

All in violation of Title 18, United States Code, Section
1951(a).

COUNT FOUR

On or about April 23, 1994, in the Middle District of

Florida, the defendants, ;
CONGHAU HUU TO,
a/k/a "Tigo"
TUAN DUC PHUNG;
AN THANH LE;
TAM MINH LE;
and
DUNG QUOC NGUYEN,
together with others not indicted herein, did unlawfully
obstruct, delay and affect, and attempt to obstruct, delay and
affect commerce, as that term is defined in Title 18, United
States Code, Section 1951(b) (3), and the movement of articles and
commodities in such commerce, by robbery as that term is defined
in Title 18, United States Code, Section 1951(b)(1), in that the
aforementioned defendants did unlawfully attempt to take and
obtain personal property consisting of United States currency

from an employee of the Big Easy Restaurant, Tampa Bay Mall,

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Tampa, Florida, against his will by means of actual ana
threatened force, violence, and fear of injury.

All in violation of Title 18, United States Code, Sections

1951(a) and 2.
COUNT FIVE

On or about May 23, 1994, in the Middle District of Florida,

the defendants,

CONGHAU HUU TO,
a/k/a "Tigo"
and
TUNG VAN NGUYEN,
a/k/a "Tony",
together with others not indicted herein, did unlawfully
obstruct, delay, and affect, and attempt to obstruct, delay, and
affect commerce, as that term is defined in Title 18, United
States Code, Section 1951(b)(3), and the movement of articles and
commodities in such commerce, by robbery as that term is defined
in Title 18, United States Code, Section 1951(b)(1), in that the
aforementioned defendants did unlawfully take and obtain personal
property consisting of United States currency with a value
exceeding $8,000 from an employee of Southland Corporation,
Tampa, Florida, against his will by means of actual and

threatened force, violence, and fear of injury.

All in violation of Title 18, United States Code, Sections

1951(a) and 2.

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COUNT SIX

On or about May 29, 1994, in the Middle District of Florida,

the defendants,
CONGHAU HUU TO,
a/k/a "Tigo";
HAI VAN NGUYEN;
LAP VAN LE,
a/k/a "Lai Van Le",
a/k/a “Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
TAI TAN PHAM,
a/k/a "Cao";
LIEM THANH LUONG,
a/k/a Luong Thanh Liem;
TUNG VAN NGUYEN,
a/k/a "Tony";
and
NGUYEN TU DOAN,

together with others not indicted herein, did unlawfully
obstruct, delay, and affect, and attempt to obstruct, delay and
affect commerce, as that term is defined in Title 18, United
States Code, Section 1951(b)(3), and the movement of articles and
commodities in such commerce, by robbery, as that term is defined
in Title 18, United States Code, Section 1951(b)(1), in that the
aforementioned defendants did unlawfully take and obtain personal
property consisting of jewelry and United States currency with a
value exceeding $12,000 from employees of the Shanghai Buffet
Restaurant, Tampa, Florida, against their will by means of actual
and threatened force, violence, and fear of injury.

All in violation of Title 18, United States Code, Sections

1951(a) and 2.

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On or about April 23, 1994, in the Middle District of

Florida, the defendant,

CONGHAU HUU TO,
a/k/a “Tigo"
TUAN DUC PHUNG;
AN THANH LE;
TAM MINH LE;
and
DUNG QUOC NGUYEN,
together with others not indicted herein, knowingly used and
carried firearms, that is, handguns and a shotgun, during and in
relation to a crime of violence for which they may be prosecuted
in a court of the United States, that is, interference with
commerce by threats and violence as alleged in Count Four of the
Indictment which is incorporated herein by reference as if set
forth at length.

All in violation of Title 18, United States Code, Section

924(c)(1) and 2.

COUNT EIGHT

On or about May 23, 1994, in the Middle District of Florida,

the defendants,
CONGHAU HUU TO,
a/k/a "Tigo"
and

TUNG VAN NGUYEN,
a/k/a "Tony",

together with others not indicted herein, knowingly used and

carried firearms, that is, handguns, during and in relation toa

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crime of violence for which they may be prosecuted in a court of
the United States, that is, interference with commerce by threats
and violence as alleged in Count Five of the Indictment which is
incorporated herein by reference as if set forth at length.

All in violation of Title 18, United States Code, Section

924(c)(1) and 2.

O NINE

On or about May 29, 1994, in the Middle District of Florida,

the defendants,
CONGHAU HUU TO,
a/k/a "Tigo"
LAP VAN LE,
a/k/a “Lai Van Le",
a/k/a "Luu Van Le",
a/k/a "Johnny";
TUAN DUC PHUNG;
and
NGUYEN TU DOAN,

together with others not indicted herein, knowingly used and
carried firearms, that is, handguns, during and in relation to a
crime of violence for which they may be prosecuted in a court of
the United States, that is, interference with commerce by threats
and violence as alleged in Count Six of the Indictment which is

incorporated herein by reference as if set forth at length.

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All in violation of Title 18, United States Code, Section

924(c)(1) and 2.

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FOREPERSON

CHARLES R. WILSON
UNITED STATES ATTORNEY

 

  

LIE F. THOMAS
Assistant U. S. Attorney
USA No. 44

Ghutud- TP. fee bow

KEVIN R. MARCH Y
Assistant U. S. Attorney
Chief, Strike Force Unit
USA No. 23
 

 

 

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA, No. 94-293-CR-T-17(E)
Plaintiff,
-vs-

CONGHAU HUU TO,

Defendant. Tampa, Florida
woo nn --------------------------- July 16, 1996

SENTENCING is
BEFORE THE HONORABLE THOMAS A. WISEMAN, 2 E
Senior United States District Judge =..i9

APPEARANCES: watt

For the Government: JULIE THOMAS io. ¥
Assistant United States Attorney
500 Zack Street
Tampa, Florida 33602
(813) 274-6000

For the Defendant: DANIEL CASTILLO, ESQUIRE
607 W. Martin Luther King Blvd.
Tampa, Florida 33603
(813) 238-8580

Reported by: MICHAEL J. CANO, RPR
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P.O. Box 1921
Tampa, Florida 33601-1921
(813) 221-4132

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PROCEEDINGS
(Court called to order at 2:40 p.m.)

THE COURT: All right. The next matter set for
hearing is United States versus Conghau Huu To.

Is the government ready?

MS. THOMAS: Yes, Your Honor.

THE COURT: Is the defendant ready?

MR. CASTILLO: Yes, Your Honor.

THE COURT: Mr. Castillo, have you had an
opportunity to go over the presentence report with the
defendant?

MR. CASTILLO: Yes, Your Honor.

THE COURT: Mr. To, have you thoroughly read and
understand the presentence report?

THE DEFENDANT: Yes, Your Honor.

THE COURT: All right. All right then,

Mr. Castillo, I’1l hear you on your objections.

MR. CASTILLO: Your Honor, some of them overlap.
I guess the first and foremost, the most important one that
I see is the accountability of Mr. To for the murder of
Con Quoc Le. The probation office has scored him with a
base level of 43 finding him responsible under a
first-degree-murder theory of the murder of Con Quoc Le.

The Court’s already ruled somewhat on this issue

as it related to Tam Minh Le, who was the actual shooter of

 

 
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Con Quoc Le, as to the April 23rd Saigon Palace incident.

The Court will recall Mr. To, although he’s, as
the jury found, the ring leader or one of the orchestrators
of this conspiracy to commit a robbery of Mr. Con Quoc Le,
he was across the street in the Saigon Palace when the
victim was killed.

Now, there’s been some dispute as to what the
state of mind of Mr. Tam Minh Le was when he actually shot
Con Le. And under the Pinkerton Theory in aiding and
abetting, we recognize that Mr. To may be held accountable
for the acts of coconspirators for reasonably foreseeable
acts.

Now, as the jury so found, there was a conspiracy
to commit a robbery of Mr. Con Quoc Le, and in light of the
sequence of events that occurred that night, I mean, first
of all, the victim that night was not robbed of the money
that was in his possession. He was found with some $700,
and there was a contention that Mr. Tam Minh Le had bad
blood and it was separate and apart from any conspiracy.

But the point is, Judge, is Mr. To responsible for
the shooting of Con Le as it related to the robbery? In
other words, is it a foreseeable act, kind of like the same
reasoning that the other attorneys argued for their clients
as it related to the abduction of the Lin family? Is

that -- was that abduction or was the shooting of Con Le a

 

 
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reasonably foreseeable act of a conspiracy to commit

robbery? There was no talk of killing anyone during the

 

conspiratorial conversations. It was something that had

 

happened that night. Now, the question is, is it reasonably
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foreseeable? That’s one question.

The second one, is it a first-degree murder, which
would allow the application of 2Al1.1? I point out to the
Court that the two issues to resolve based upon the facts of
the case, is Mr. To liable? And if the Court says it’s not
a reasonably foreseeable act, the murder of Con Le, then
Mr. To, under that count, would be liable for the conspiracy
to commit robbery, which is a base level 20 which would be
enhanced to 27. That’s one alternative the Court has based
upon its findings.

I don’t need to belabor the facts. The Court is
well aware of the facts. Alternatively, Judge, as it

relates to Mr. To, the Court can also find that maybe it’s a

foreseeable consequence of his acts, but was it in fact a

first-degree murder as it relates to Mr. To?

 

Conceivably the Court can say, Well, based upon
the intent of the defendant, was it knowingly and willfully
committed? Unfortunately -- well, as I’ve heard already the
Court’s already made a finding as to Mr. Tam Minh Le, which
is as to that defendant, but Mr. To, is he -- should he be

accountable for a second-degree murder, which would be a

 

 

 

 
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level 33, and subject to the according enhancements?

I submit to the Court, Judge, that obviously it’s
way beyond -- it’s outside the scope of this conspiracy to
commit a robbery of Con Le. The murder was an unfortunate,
unforeseeable act as it relates to Mr. To. This was
something that Mr. Tam Minh Le did off on a frolic of his
own, so to speak. I mean, it wasn’t contemplated by the
conspiracy. It was an unfortunate occurrence that occurred.
No one can dispute the death, but the question remains, what
was the state of mind of Mr. Tam Minh Le at the time of the
killing? And whether or not Mister -- was that killing a
foreseeable act as to that conspiracy to commit robbery?

Shall I go on or do you want to let the government
respond?

THE COURT: Well, you may continue.

MR. CASTILLO: Okay. Secondly, Judge, obviously
we have --

THE COURT: I1/’11 address that. I’m prepared to
address that at any point. That’s all you have to say about
that?

MR. CASTILLO: Right.

THE COURT: Let me just say this, Mr. Castillo.

We have both the Felony Murder Rule and the 18 United States

 

fode, Section 2, that which could be done by a person

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himself can also be done by a principal. We have Pinkerton

 

 
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liability under the conspiracy theory.

Now, it seems logical to this Court that if you
arm -- and this is -- these are determined facts by the
jury’s verdict -- if you plot a felony and you place weapons
in the hands of your subordinates and coconspirators and a
murder results, a shooting results, it seems to me that is

entirely foreseeable.

It’s further corroborated _by the fact that three _

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individuals, — I believe, fired shots at Mr. Con Quoc Le. Two

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of them hit him before Mr. Tan Minh Le finished him off.

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The circumstances of this armed robbery, which resulted ina
murder, were entirely foreseeable and Mr. To is fully
responsible for the consequences of the circumstances which
he set in motion.

As to the degree, whether it be first or second,
again, Felony Murder Rule would make it first-deqree murder.
But Mr. To has indicated by his actions, not only in this
instance but in others as well, including the attempted
murder of An Le, that he has no hesitation to take the life
of another person.

And from alli the facts and_ circumstances of this _

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case, Mr. To is more responsible, frankly, than

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Mr. Tam Minh ‘Le for the death of Con Quoc oc Le. -

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Mr. Tam Minh ‘Le is a retarded individual with emotional

 

problems. Mr. To is a calculating, intelligent individual

 

 

 
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and he knew what he was doing when he did it.

So that your application for a different guideline
will be denied.

MR. CASTILLO: Very well, Your Honor. So then the
probation office’s calculation would be --

THE COURT: Calculation of 43 points for the base
offense level will be adopted by the Court.

MR. CASTILLO: Well, Judge, then the next
objection that I have for the Court’s consideration is a
two-level enhancement for obstruction of justice. This has
to do with the September 22nd, 1994 beating of An Le ina
holding cell.

THE COURT: Now, the only thing I got about that
was a report -- I believe I had a report during the trial
from the Marshal’s Service. Maybe you better put some proof
on about that, Ms. -- as to whether or not Mr. To was the
one who did it and whether or not it was in fact an act of
intimidation of a witness.

MS. THOMAS: Your Honor, there was testimony at
trial by Dung Quoc Nguyen about witnessing that beating. It
wasn’t just a report. I believe we had submitted --

THE COURT: Remind me of that testimony. You all
have the advantage. The Court is not provided a copy of the
transcript unless you cite it to me and cite me the page

numbers.

 

 
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MS. THOMAS: Your Honor, Dung Quoc Nguyen
testified he was in a holding cell downstairs along with all
of the other co-defendants. And I believe he described at
trial how they were all chained together in different rows.
An Le was next to him. He testified that Lap Van Le
originally elbowed An Thanh Le. An Thanh Le fell to the
ground. Mr. To also struck An Le, and the statement was
made to Dung Quoc Nguyen, You didn’t see anything. I have
to refer to the trial transcript and I can get you that
citation.

THE COURT: Well, let’s see if Mr. Castillo agrees
that that occurred.

MR. CASTILLO: I agree that’s what the testimony
was of Mister -- of Dung Quoc Nguyen. However, Judge,
again, there’s no -- I mean, let’s just assume for a minute
that the beating did occur, that Mr. To did in fact strike
him. There’s no indication even from her reciting of her
recollection of the testimony that it was, You better not
testify. You better change your testimony, or anything to
that effect.

We don’t know why this beating occurred.

Mr. An Le did not testify. There’s no indication that
Mr. An Le did not testify because he was threatened by
anyone. Here we’re getting a two-level

obstruction-of-justice enhancement for a battery that

 

 
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occurred outside the scope of the indictment, prior to
trial.

They were all in the holding cell, and let’s say
he was assaulted and said, You didn’t see anything. That
doesn’t mean it’s obstruction of justice. But what does
that mean? Assuming that we have to take the testimony as
given by this witness, what does that mean? Is that an
obstruction of justice? And I would submit that it doesn’t
rise to the level of a two-level enhancement.

THE COURT: All right, sir. Let me hear you on
that, Ms. Thomas.

MS. THOMAS: Your Honor, the obstructive
behavior -- let me just flip to the particular guideline,
Your Honor.

THE COURT: Obstruction of justice should have
some evidence that the motivation for this attack was to
prevent his testimony or in some way try to change his
testimony.

MS. THOMAS: That’s correct, Your Honor.

THE COURT: You know, he was mad enough to try to
kill him once when he thought he was cooperating with the
FBI. But is this not piling an inference on an inference
Ms. --

MS. THOMAS: I don’t think so, Your Honor,

especially in light of some of the other documentation that

 

 
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we all received during the course of this trial.

THE COURT: And that’s the --

MS. THOMAS: Those are the letters that were
attributed to Mr. To that -- or the threats attributed to
Mr. To in letters by An Le to Nguyen Tu Doan as well as the
actual fight that broke out between the defendants in this |
case.

After the -- after the testimony of Nguyen Tu
Doan, if Your Honor will recall, there was an incident in
the sally port of the Morgan Street jail, I believe that was
the report that Your Honor was referring to, and Mr. An Le
was the individual both assaulted prior to the indictment,
which formed a basis for one of the predicate acts, as well
as he’s assaulted in a holding cell after a court hearing.

And keeping in mind that An Le was the only
individual that for a short period of time was let out on
bond, Mr. To, you know, clearly believed Mr. An Le was going
to be a witness against him at trial.

THE COURT: I think it’s -- you know, I’m
accepting as true the fact that he was assaulted in jail and
assaulted by Mr. To. I think it’s fairly obvious they don’t
like each other. But to say that that rises to the level of
obstruction of justice, Ms. -- without more is inference
upon inference.

MS. THOMAS: Your Honor, I accede to your ruling,

 

 
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obviously. We don’t have more to give the Court.

THE COURT: Well, you know, several of these
witnesses were scared of Mr. To, that was obvious at trial.
Mr. Doan, Mr. Tran, and probably with good reason. But I’1l
reserve that.

Go ahead now and let me hear you on the rest of
your objections, Mr. Castillo.

MR. CASTILLO: All right, Judge, that objection --
because Mr. To was convicted of all nine counts and there’s
four separate groupings and that enhancement is on each
group, obviously we’re at a level 43 and that objection
would apply to all of them.

Judge, I would also -- well, as far as the one
count of the 924(c) that you ruled this morning on Bailey,
that objection, I guess, would also be overruled?

THE COURT: That is -- that is noted for the
record and you need not reiterate it. But I will await the
judgment of the Eleventh Circuit as to whether or not Bailey
also deleted 18 United States Code, Section 2, from the
books, and I don’t think it did.

Now, go ahead.

MR. CASTILLO: All right, Judge. And then also
just with relation to Mr. To’s May 3lst, 1996, probation
revocation hearing, he was assigned three points for --

Criminal History Points for a probation violation hearing

 

 
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which, as the Court will recall, Mr. To was on probation for
being a felon in possession of a firearm during the course
of the trial. Recently what happened was he was taken to
state court and ordered to terminate his probation because
of the federal proceeding because this indictment and
conviction was the basis for that violation. .

- We went before the trial judge, and what the trial
judge did there was defer to the federal court, in essence
give Mr. To a time-served sentence. Technically Mr. To did
not have a day of credit for that violation of probation
because he had not been served with a warrant, the arrest
warrant.

But after of the trial court heard that Mr. To had
been detained since December 22nd of 1994 and been in
custody, that he has been convicted and was facing
substantial time here in the federal courts, the trial court
in essence what they did was defer to the federal court and
said, Well, then what we’ll do is give him credit for time
served, and gave him credit for 525 days, which was the
calculation he had from December 22nd, 1994, to May 3lst of
1996, and said, We’ll sentence you to that.

Well, he was already enhanced two levels or two
points for -- two criminal history points for being on
probation. On top of that, he’s then given an additional

three points for the same revocation on the same charge, and

 

 
 

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what I think that is is overrepresentative of his Criminal
History Category, of his criminal history, and it amounts to
double counting.

And I would submit to the Court that instead of
thei Category V that the probation office has, that it should
be reflected to go down to Category III, remove those five
points and then he’s placed in a Category III, and I think
now. we’re about a level 46, Category III. I don’t know
that -- well, it doesn’t make a difference, but that’s my
objection to the criminal history points.

In essence, it’s a discretion of the Court now to
determine whether or not it’s overrepresentative, although
it may be properly scored by the probation office, but the
Court can look at it and say, Wait, there’s something wrong
here. It’s double counting and it is overrepresentative of
his criminal history. |

THE COURT: You agree that it does not make a
difference in the sentence to be imposed?

MR. CASTILLO: Not as the Court’s ruling. Now,
obviously should you be reversed on that ruling, then it may
have an affect later on. But accepting everything --

THE COURT: Let me hear you, Ms. Thomas, on that
matter.

MS. THOMAS: Your Honor, as I understand it,

Mr. Castillo is indicating that the probation office has

 

 
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correctly scored Mr. To’s criminal history category; is that

correct?
wba MR. CASTILLO: Yes.
ale MS. THOMAS: But he is arguing that it is

overrepresentative --
“chee THE COURT: Well, I think he also is objecting to
the.three points added for revocation of his probation for
which he’s already received two points for the probation
itself.

ae MS. THOMAS: Well, Your Honor, I think --

THE COURT: And this all occurred -- and the

revocation of probation is this offense.

MS. THOMAS: Correct, Your Honor.

THE COURT: As a result of this offense.

MS. THOMAS: Well, Your Honor, the two are
separate. I support the probation officer’s calculation.
The two are separate. The guidelines indicate that if you
commit an offense while under some kind of a rehabilitative
sentence, you’re assessed two levels.

He -- because of the instant indictment and not
just the indictment, his conviction on that indictment, he
was take -- he faced in state court a probation revocation
on the four-year probationary sentence he received for
possession of a firearm by a convicted felon. They gave him

the 525 days.

 

 
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Sa THE COURT: Twenty-five, or 545 days --

MS. THOMAS: Twenty-five days, 525 days in
confinement, which in essence is what he had served here
while awaiting trial. They then properly count the fact
that that 525 days is considered his sentence on the
underlying offense. So the probation office has correctly
scored Mr. To’s criminal history on that offense. It is a
separate issue whether the Court feels that the Criminal
History Category of V overrepresents Mr. To’s criminal
history.

We would assert that it does not overrepresent his
criminal history, because obviously the criminal history
calculations are inteded to give the Court guidance in
determining what, among other things, what Mr. To’s_

likelihood of recidivism is in this case. And, you know, he

 

has a substantial criminal history, and not unlike others

 

who have a Criminal History of V. We have a possession of

 

 

cocaine offense, an armed robbery offense, a grand larceny

 

offense, and then possession of a firearm by a convicted

ao eerie:

 

 

felon. And these are unrelated to the conduct here.

 

THE COURT: All right.

Now then, Mr. Castillo, do you have further
objections?

MR. CASTILLO: My objection on Paragraph 9, Judge,

having to do with the 5K2.0 not being calculated by the

 

 

 
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guidelines, when I filed that what I contemplated was the
actions taken on April 24th. So I would just merge that
with the other argument and that’s why I cited that as far
as not contemplated by the guidelines. But there is a
application note which the Court has ruled on.

And in light of that, I have -- the other argument
that I would advance to the Court obviously is the
three-level enhancement for role in the offense, but I think
the Court has made its findings this morning that Mr. To is
in fact --

THE COURT: In a leadership role.

MR. CASTILLO: -- in a leadership role. So in
light of that I have nothing further.

THE COURT: Ms. Thomas, do you wish to be heard
further on any of these objections?

MS. THOMAS: No, Your Honor, I do not.

THE COURT: All right. Then the Court will rule

 

on the objections. I think I’ve fully discussed the

 

 

accountability of Mr. To for the murder of Con Quoc Le and

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that 43 is the appropriate level under 2A1.1.

 

His role in the offense is that of leadership and

 

 

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the three-level enhancement is appropriate.
You object -- you didn’t address this,
Mr. Castillo, but do you object to the three-level

enhancement for five or more --

 

 
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MR. CASTILLO: Well, that was the last thing I
said.

THE COURT: Oh, all right. The conspiracy
consisted of more than five or more persons, so that
objection is overruled.

Then the two-level enhancement for obstruction of
justice, that may have been the motivation for the attack in
the jail, but the proof that that was the motivation is
lacking. So I’m going to sustain the objection to that.

And as to the probation revocation of points,
those three points were actually assessed for the prior -~-
for the prior conviction of possession of a firearm by a
convicted felon, and the two points were because he was on
probation at the time of the commission of this offense. So
that’s appropriately calculated by the probation office and
it does not overrepresent the criminal history.

So the Court determines that the offense level’s

 

46, the Criminal History Category is V, the sentencing range

is life in prison.

 

What’s the fine range?

THE PROBATION OFFICER: It remains the same,
Your Honor, 25,000 to 250,000.

THE COURT: Fine range is 25,000 to 250,000. And
supervised release is -- well, there are some mandatory

minimums also. There’s consecutive sentences, the life

 

 
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imprisonment is as to Counts 1 and 2, There are mandatory
‘consecutive sentences required in this case as well.

S60 As to Counts 3, 4, 5, and 6, the guideline on that

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-lis 20 years.
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Is that a mandatory minimum?

6 hin MR. CASTILLO: No. I think that’s a statutory

.7;,)maximum, Judge.

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MR. THOMAS: That’s a statutory maximum.

THE COURT: What’s the guideline on it?

 

fio ‘|e: : MS. THOMAS: Well, since he’s at a level 43, it
$11 |would be 20 years.

B12 THE COURT: All right. Then as to Counts 3, 4, 5,
$13 |and 6, the guideline requires 240 months, which can be

14 concurrent with the life sentence.

415 As to Count 7, a five-year consecutive mandatory
BU is required.

117 As to Count 8, a 20-year consecutive is required.
118 As to Count 9, a 20-year consecutive is required.
7 19 Now, then, I’1l hear you, Mr. Castillo.

5 20 Special assessment of $450 is also required. And
21 |dividing up the restitution, $8,700 should be paid to the

1 22 Lins.

23 |: Are there other victims to whom restitution is

24 |required to be made?

g 25 MS. THOMAS: Your Honor, the probation office has

 

 

 

 
 

 

  
 
  
   
  
 
    
  
  

 

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“indicated that restitution in the amount of $3,563.21 as

V2 | Mr. To’s portion is owed to the Southland Corporation, that

THE COURT: That’s the bank, the Barnett Bank?

MS. THOMAS: The Barnett Bank drive-thru incident,

THE COURT: All right. Those amounts will be

Judge, I would just add in light of

cost of supervision.

THE COURT: I will do that, yes.

Let me hear you further with anything else you

~|would like to say.

MR. CASTILLO: No, Your Honor, I was going to
check with my client to see if he would like to say
anything.

THE COURT: Yes, see if he would like to say
anything on his own behalf.

MR. CASTILLO: Your Honor, I have nothing further
to add in light of the Court’s ruling over previous
objections, and Mr. To has indicated he doesn’t wish to
address the Court.

THE COURT: Is there a victim in the courtroom?

MS. THOMAS: No, Your Honor.

 

 
 

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I’ve heard your sentences and understand them.
There’s nothing we can do financially and all we ask you to
do is to review the case and transcripts much more
thoroughly to see there are many inconsistencies with the
prosecuting witnesses and conspiracy among the other
defendants.

7y¥ That’s all I have to say.
a a. THE COURT: Would any of the other members of the
family wish to say anything?
LE Ms. To?
Crupk MS. NGUYEN: Thank you for letting me talk today.

MR. CASTILLO: Your Honor, this is Con Nguyen.

“ THE COURT: Yes. She came to this country very
tragically and had some very traumatic experiences.

MS. NGUYEN: I’m very hurt to come here and see my
son over there, and very hurt because I’m his mother and not
doing my job to protect him and to help him. But the only
thing today I want to talk to him that the last time he
knows that I was right because when he asked me my opinion
to help the government I told him, In your situation if you
do that, like you play with fire, anyway you get hurt. And
now he get hurt.

Thank you very much.

MR. CASTILLO: This is Ms. Amanda To.

THE COURT: Yes, sir. I know Ms. To.

 

 

 

 
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& MS. AMANDA TO: I testified. I just wanted to say
is I felt my husband was guilty through all of this I would
Bever have stayed with him. I ama law-abiding citizen and

segs

Hjdon’t believe he’s guilty of this. I don’t believe he

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" ‘forced: anybody to commit any crimes. Nobody could pay me a
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‘million to commit a crime. These people chose to do what.

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‘they’ did. Retarded or not retarded, the boy was retarded,

‘Hist made. his way to the restaurant, he made his way to order

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the beer, he made his way to possess the gun. I do not

  

Believe that my husband forced anybody to do anything. I

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think that’s just an excuse.
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be :.. I would say what I had to say, too, to geta

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lesser sentence. I just want you to know I would not be

 

here. I obey the law, I always have, and I love my husband
and I don’t feel he’s guilty. I know he was convicted, but
Ii:idon’t feel he’s guilty. I don’t think he should take the
wrap for all that these guys did just because they pointed
the finger at him.

mite He was in a very sticky situation trying to help
the FBI, trying to be a husband, the whole situation. He
just fell apart. It just wasn’t a fair situation and he was
burnt in the end. I don’t feel like he should take the wrap
for everybody. I just wanted to say to everybody in the

courtroom thank you for hearing me, but I do believe my

husband is innocent.

 

 

 
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THE COURT: All right.

MS. TO: I’m Mr. To’s youngest sister. My family
protected me from this whole case, so I don’t know every
single detail of it. But from the things I’ve heard, my
brother is some kind of monster, some kind of conniving gang
jeader, I don’t know what. My brother -- he’s my big

brother and he’s also my -- we didn’t have -- I mean, my

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| father wasn’t around, so he was my father also. He had to

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‘play double roles.
gon My brother’s a human being. He has a family that

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‘loves him very much. This is not a monster. He’s not -- I
don’t know what I can say. I don’t know what else I can

say.

me THE COURT: Thank you.
MR. BRUCE TO: Your Honor, can I say something
else?

THE COURT: Yes.

MR. BRUCE TO: I ask if you can reconsider your
sentence.

THE COURT: I’m sorry?

MR. BRUCE TO: I’m asking to see if you can
reconsider your sentencing for my brother.

THE COURT: All right. Ladies and gentlemen, I
certainly appreciate the love that you bear for your brother

and son and husband, and I appreciate family loyalty. It’s

 

 

 
 

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behalf and it will be done.

Now, let me ask you if you understand your rights,
Mr. To?

THE DEFENDANT: Yes, I do.
wel: THE COURT: All right. All right then, have I
omitted anything, Ms. Thomas?
ag te MS. THOMAS: Your Honor, I did not hear any
provision regarding restitution, and have you waived that?

THE COURT: I did not. I did order it earlier but
Twill do it again. The numbers are not in my -- are not at

my fingertips. The amount owed to Barnett Bank on the

amount --
ae yes MR. CASTILLO: To 7-11.

THE COURT: -- and his portion to the Lins?
we MS. THOMAS: It would be $8,700.42.

THE COURT: How much of that to the Lins?

MS. THOMAS: $5,164.21.

THE COURT: And how much of that to the Barnett
Bank?

MR. CASTILLO: Southland Corporation.

MS. THOMAS: Three thousand --

THE COURT: Southland Corporation.

MS. THOMAS: $3,563.21 to the Southland
Corporation.

THE COURT: All right. Those amounts will be

 

 

 
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ntained in the judgment order.

Now then, you have a request with respect to pla

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nearceration?

MR. CASTILLO: Yes, Your Honor. If the Court

  
   

THE COURT: He may get a level five.

MR. CASTILLO: I understand, Judge. But whateve

THE COURT: 1I‘11 recommend that he be incarcerat

   

€ the appropriate level determined by the Bureau of Priso

5 ee the nearest location to Tampa.

   
 

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MR. CASTILLO: Your Honor, the defendant has als

 
 
  

indicated that he wants to invoke his right to appeal. I

| have been appointed and I would ask the Court to continue
appointment.

THE COURT: Your appointment will continue to
conduct the appeal, and Ms. Thomas, you’ll file the notice
of appeal on his behalf.
te Is there anything further?

Y Pes MR. CASTILLO: No, Your Honor.
| MS. THOMAS: No, Your Honor.
oe THE COURT: All right. Mr. Marshal, he’s in you
custody.

 

 
The Court will be recessed until 9 o’clock
iorrow morning.
THE COURT SECURITY OFFICER: All rise.

(Court adjourned at 3:26 p.m.)

CERTFICATE
I certify that the foregoing is a correct
nscript of the stenographic record of proceedings held in

: above-entitled matter.

 

 

 

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thael J. Cano, Court Reporter Date

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